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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION


IN RE:
          GEA SEASIDE INVESTMENT INC.

                                                      Case No.: 3:18-bk-00800-JAF
                      Debtor(s)                       Chapter 11

_________________________________/




                FOURTH AMENDED PLAN OF REORGANIZATION
                 (Amended as to Classes 11, 22, 24, 61-62, 72, 74-81 and
                           Amended to add Classes 95-105)


Dated: May 19, 2020



                                                      Taylor J. King
                                                      Law Offices of Mickler & Mickler
                                                      Attorneys for Debtor-in-Possession
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                                           ARTICLE I

                                           SUMMARY

       This Amended Plan of Reorganization (the “Plan”) under chapter 11 of the Bankruptcy

Code (the “Code”) proposes to pay creditors of the Debtors from future income of the Debtor

derived from rental income and/or capital contributions.

       This Plan provides for 102 classes of secured claims and 1 class of unsecured claims.

Unsecured creditors holding allowed claims will receive distributions, which the proponent of this

Plan has valued at approximately 2 cent(s) on the dollar.

       This Plan also provides for the payment of administrative and priority claims either upon

the effective date of the Plan or as allowed under the Bankruptcy Code. All creditors and equity

security holders should refer to Articles II through VI of this Plan for information regarding the

precise treatment of their claim. A disclosure statement that provides more detailed information

regarding this Plan and the rights of creditors and equity security holders has been circulated with

this Plan. Your rights may be affected. You should read these papers carefully and discuss

them with your attorney, if you have one. (If you do not have an attorney, you may wish to

consult one.)

                                          ARTICLE II

                    CLASSIFICATION OF CLAIMS AND INTERESTS

PRIORITY CLAIMS: Not Impaired

 Classes: Creditor:                              Interest:     Allowed Amount:         Payment:
 1        IRS                                    4%            $17,154.15              $601.82
          400 W. Bay Street M/S 5720                                                   per month
          Jacksonville, FL 32202                                                       for months
          (POC #44 filed October 16 2019)                                              1-30

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SECURED CLAIMS – Impaired/Subject to Valuation and retention of lien (to the extent of

the allowed amount of the secured claim less payments made pursuant to the payment

schedule below; no retention of lien for avoided liens or wholly unsecured claims):

 Class:   Creditor:                  Collateral:        Interest    Amount           Payment:
                                                        Rate:       Allowed:
 2        IRS                      Secured claim        0%          $0               $0
          400 W. Bay Street M/S (POC #44-4)
          5720
          Jacksonville, FL 32202
          (POC #44 filed October
          16 2019)
 2        Additional Class 2 Plan terms:

          Upon entry of an Order Confirming Plan, the lien of IRS recorded at Volusia County OR
          Book 6743 Page 3405 (Instrument #2012140037) and recorded with the Florida Secretary
          of State UCC #12FLR0009928 shall be null and void and no longer of any further force
          or effect.

          The court reserves jurisdiction to enter further orders as may be necessary to establish
          clear title for Debtor.

 3        US Bank                    First Mortgage     6%          $65,749.24       $394.20 per
          c/o Specialized Loan       on property                    (based on full   month for 360
          Servicing                  located at:                    claim            months
          PO Box 636007              317 aka 315 ½                  amount)          commencing
          Littleton, CO 80163        Hollywood,                                      November 1,
          (POC #46)                  Daytona Beach,                                  2019; Debtor to
                                     FL 32118                                        maintain taxes
                                     (POC #46)                                       and insurance
                                                                                     directly. Other
                                                                                     terms as outlined
                                                                                     in Class 3
                                                                                     Stipulation (Doc.
                                                                                     749)
 3        Additional Class 3 Plan terms:

          Upon completion of the Class 3 payments (whether over the full Plan term or completed
          via pre-payment), the lien of US Bank shall be null and void and no longer of any further

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    force or effect.

    The court reserves jurisdiction to enter further orders as may be necessary to establish
    clear title for Debtor.

4   Avail 2, LLC                First Mortgage                 $104,728.51      Surrender
    c/o ClearSpring Loan        on property                    (based on        without waiving
    Services, Inc.              located at:                    confirmation     state law rights,
    18451 Dallas North          817 Big Tree                   order in prior   including,
    Parkway, Suite 100          Road, South                    case)            without
    Dallas, TX 75287            Daytona, FL                                     limitation right
    (POC #47)                   32119                                           to defend
                                (POC #47)                                       foreclosure
                                                                                action and bring
                                                                                counterclaims or
                                                                                affirmative
                                                                                defenses.
                                                                                Ownership of
                                                                                collateral
                                                                                remains with
                                                                                Debtor.
4   Additional Class 4 Plan terms:

    In rem relief from stay previously granted to creditor. Debtor maintains all non-
    bankruptcy rights, including, without limitation the right to defend any foreclosure action
    and bring counterclaims or affirmative defenses. Debtor shall continue to own the
    collateral. Creditor may seek to enforce its lien rights, to the extent any exist, as provided
    in the order granting in rem stay relief. Debtor reserves its rights under state law and
    bankruptcy law, including but not limited to the right to file a motion to sell and/or file an
    objection to claim 47.

5   Redstick Acquisitions       First Mortgage     5%          $137,610.31      $738.72 per
    c/o SN Servicing            on property                    (based on        month principal
    PO Box 660820               located at:                    agreed order     and interest for
    Dallas, TX 75266            320 N.                         Doc. 746)        360 months
    (POC #48)                   Peninsula Dr.,                                  commencing
                                Daytona Beach,                                  November 1,
                                FL 32118                                        2019; Debtor to
                                (POC #48)                                       maintain taxes
                                                                                and insurance
                                                                                directly. Other
                                                                                terms as outlined
                                                                                in Agreed Order

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                                                                               (Doc. 746)
5   Additional Class 5 Plan terms:

    Upon completion of the Class 5 payments (whether over the full Plan term or completed
    via pre-payment), the lien of Redstick Acquisitions c/o SN Servicing shall be null and
    void and no longer of any further force or effect.

    The court reserves jurisdiction to enter further orders as may be necessary to establish
    clear title for Debtor.

6   HSBC Bank                First Mortgage       4%          $123,780.52      $590.95 per
    c/o Ocwen                on property                      (based on full   month principal
    Attn: Cashiering Dept    located at:                      claim            and interest for
    1661 Worthington Road 100 Carolyn                         amount)          months 1-360;
    Suite 100                Terrace,                                          Debtor to
    West Palm Beach, FL      Daytona Beach,                                    maintain taxes
    33409                    FL 32118                                          and insurance
    (Acct #9958)             (POC #49)                                         directly
6   Additional Class 6 Plan terms:

    Upon completion of the Class 6 payments (whether over the full Plan term or completed
    via pre-payment), the lien of HSBC Bank shall be null and void and no longer of any
    further force or effect.

    The court reserves jurisdiction to enter further orders as may be necessary to establish
    clear title for Debtor.

7   US Bank, NA              First Mortgage       4%          $63,986.97       $305.48 per
    c/o PHH Mortgage         on property                      (based on full   month principal
    (Acct #9040)             located at:                      claim            and interest for
                             324 N                            amount)          months 1-360;
                             Peninsula Dr,                                     Debtor to
                             Daytona Beach                                     maintain taxes
                             FL 32118-4036                                     and insurance
                              (POC #50)                                        directly
7   Additional Class 7 Plan terms:

    Upon completion of the Class 7 payments (whether over the full Plan term or completed
    via pre-payment), the lien of US Bank shall be null and void and no longer of any further
    force or effect.

    The court reserves jurisdiction to enter further orders as may be necessary to establish
    clear title for Debtor.

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8    US Bank, NA              First Mortgage                   $131,109        $625.93 per
     c/o Ocwen                on property                      (based on tax   month principal
     Attn: Cashiering Dept    located at:                      assessed        and interest for
     1661 Worthington Road 1928 Marilyn                        value and       months 1-360;
     Suite 100                St., Daytona                     motion to       Debtor to
     West Palm Beach, FL      Beach FL                         value)          maintain taxes
     33409                    32118                                            and insurance
     (Acct #5751)              (POC #51)                                       directly
8    Additional Class 8 Plan terms:

     Upon completion of the Class 8 payments (whether over the full Plan term or completed
     via pre-payment), the lien of US Bank shall be null and void and no longer of any further
     force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

9    US Bank (successor in      First Mortgage     6%          $114,475.48     $686.34 per
     interest to                on property                    (based on       month principal
     Argent Mortgage)           located at:                    Stipulation     and interest for
     c/o Ocwen                  358 Nautilus                   (Doc. 940))     360 months
     Attn: Cashiering Dept      Avenue,                                        commencing
     1661 Worthington Road      Daytona Beach,                                 February 1,
     Suite 100                  FL 32118                                       2020; Debtor to
     West Palm Beach, FL        (POC #52)                                      maintain taxes
     33409                                                                     and insurance
     (Acct #3484)                                                              directly. Other
                                                                               terms as outlined
                                                                               in Class 9
                                                                               stipulation (Doc.
                                                                               940)
9    Additional Class 9 Plan terms:

     Upon completion of the Class 9 payments (whether over the full Plan term or completed
     via pre-payment), the lien of US Bank shall be null and void and no longer of any further
     force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

10   Bank of New York           First Mortgage     6%          $169,380.17     $1,015.52 per
     Mellon                     on property                    (based on       month principal

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     c/o Ocwen                  located at:                    Class 10        and interest for
     Attn: Cashiering Dept      109 Raymond                    Stipulation     360 months
     1661 Worthington Road      Avenue, Port                   (Doc. 941))     commencing
     Suite 100                  Orange, FL                                     February 1,
     West Palm Beach, FL        32127                                          2020; Debtor to
     33409                      (POC #53)                                      maintain taxes
     (Acct #1626)                                                              and insurance
                                                                               directly. Other
                                                                               terms as outlined
                                                                               in Class 10
                                                                               Stipulation.
10   Additional Class 10 Plan terms:

     Upon completion of the Class 10 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Bank of New York Mellon shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

11   US Bank           First            6%          $91,000         $545.59 per month principal
     c/o Ocwen         Mortgage on                                  and interest for months 1-
     Attn:             property                                     360; Debtor to maintain
     Cashiering        located at:                                  taxes and insurance directly.
     Dept              319 N.
     1661              Hollywood                                    Payments shall commence
     Worthington       Avenue,                                      on the first (1st) day of the
     Road              Daytona                                      month following entry of a
     Suite 100         Beach, FL                                    Confirmation Order in the
     West Palm         32118                                        amount of $545.59 per
     Beach, FL         (POC #54)                                    month principal and interest.
     33409
     (Acct #1721)                                                   Other terms as outlined in
                                                                    Class 11 Stipulation (Doc.
                                                                    1078)

11   Additional Class 11 Plan terms:

     Upon completion of the Class 11 payments (whether over the full Plan term or completed
     via pre-payment), the lien of US Bank shall be null and void and no longer of any further
     force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish

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     clear title for Debtor.

12   Bank of New York           First Mortgage     6%          $180,000        $1,079.19 per
     Mellon                     on property                    (based on       month principal
     c/o Ocwen                  located at:                    Stipulation     and interest for
     Attn: Cashiering Dept      3764 Cardinal                  (Doc. 959)      360 months
     1661 Worthington Road      Blvd, Port                                     commencing
     Suite 100                  Orange, FL                                     March 1, 2020;
     West Palm Beach, FL        32127                                          Debtor to
     33409                      (POC #55)                                      maintain taxes
     (Acct #4076)                                                              and insurance
                                                                               directly. Other
                                                                               terms as outlined
                                                                               in Class 12
                                                                               Stipulation (Doc.
                                                                               959)
12   Additional Class 12 Plan terms:

     Upon completion of the Class 12 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Bank of New York Mellon shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

13   Deutsche Bank              First Mortgage     0%          Pay claim       $738.52 per
     c/o Select Portfolio Svg   on property                    amount as       month principal
     Attn: Remittance           located at:                    determined      only for months
     Processing                 318 Butler                     after           1-360; Debtor to
     PO Box 65450               Blvd., Daytona                 resolution of   maintain taxes
     Salt Lake City, UT         Beach, FL                      pending         and insurance
     84165-0450                 32118                          objection to    directly
     (Acct #5495)               (POC #59)                      claim 59        (amount subject
                                                               (1111(b)        to change after
                                                               Election)       resolution of
                                                                               pending
                                                                               objection to
                                                                               claim 59)
13   Additional Class 13 Plan terms:

     Upon completion of the Class 13 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Deutsche Bank shall be null and void and no longer of any
     further force or effect.

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     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

14   Wilmington Trust           First Mortgage     4%          $81,573.57      $389.44 per
     c/o Select Portfolio Svg   on property                    (1111(b)        month principal
     Attn: Remittance           located at:                    Election)       and interest for
     Processing                 231 North                                      months 1-360;
     PO Box 65450               Hollywood,                                     Debtor to
     Salt Lake City, UT         Daytona Beach,                                 maintain taxes
     84165-0450                 FL 32118                                       and insurance
     (Acct #9594)               (POC #61)                                      directly

14   Additional Class 14 Plan terms:

     Upon completion of the Class 14 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Wilmington Trust shall be null and void and no longer of
     any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

15   Deutsche Bank              First Mortgage     1.75%       $112,150.51     $400.65 per
     c/o Select Portfolio Svg   on property                    (1111(b)        month principal
     Attn: Remittance           located at:                    Election)       and interest for
     Processing                 2711 N Halifax                                 months 1-360;
     PO Box 65450               Ave #796,                                      Debtor to
     Salt Lake City, UT         Daytona Beach,                                 maintain taxes
     84165-0450                 FL 32118                                       and insurance
     (Acct #5487)               (POC #62)                                      directly

15   Additional Class 15 Plan terms:

     Upon completion of the Class 15 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Deutsche Bank shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

16   Wilmington Trust           First Mortgage     4%          $81,095.96      $387.16 per
     c/o Select Portfolio Svg   on property                    (1111(b)        month principal
     Attn: Remittance           located at:                    election)       and interest for

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     Processing               312 N                                            months 1-360;
     PO Box 65450             Peninsula                                        Debtor to
     Salt Lake City, UT       Drive, Daytona                                   maintain taxes
     84165-0450               Beach, FL                                        and insurance
                              32118                                            directly
                              (POC #63)
16   Additional Class 16 Plan terms:

     Upon completion of the Class 16 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Wilmington Trust shall be null and void and no longer of
     any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

17   US Bank NA                 First Mortgage     0%          $177,069.57     $491.86 per
     c/o Select Portfolio Svg   on property                    (1111(b)        month principal
     Attn: Remittance           located at:                    Election)       only for months
     Processing                 316 Butler                                     1-360; Debtor to
     PO Box 65450               Blvd, Daytona                                  maintain taxes
     Salt Lake City, UT         Beach, FL                                      and insurance
     84165-0450                 32118                                          directly
                                (POC #65)

17   Additional Class 17 Plan terms:

     Upon completion of the Class 17 payments (whether over the full Plan term or completed
     via pre-payment), the lien of PNC Bank shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

18   US Bank                    First Mortgage  4%             $217,932        $1,040.44 per
     c/o Ocwen                  on property                    (based on tax   month principal
     Attn: Cashiering Dept      located at:                    assessed        and interest for
     1661 Worthington Road      244-1 Poinciana                value and       months 1-360;
     Suite 100                  Avenue, Port                   motion to       Debtor to
     West Palm Beach, FL        Orange, FL                     value)          maintain taxes
     33409                      32127                                          and insurance
      (Acct #2268)              (POC #66)                                      directly



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18   Additional Class 18 Plan terms:

     Upon completion of the Class 18 payments (whether over the full Plan term or completed
     via pre-payment), the lien of US Bank shall be null and void and no longer of any further
     force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

19   HSBC Bank                  First Mortgage      6%         $62,780.31       $376.40 per
     c/o Ocwen Loan             on property                    (based on full   month principal
     Attn: Cashiering Dept      located at:                    claim amount     and interest for
     1661 Worthington Road      236 N                          and Class 19     360 months
     Suite 100                  Peninsula Dr.,                 Stipulation      commencing
     West Palm Beach, FL        Daytona Beach,                 (Doc. 1009))     April 1, 2020;
     33409                      FL 32118                                        Debtor to
      (Acct #5126)              (POC #68)                                       maintain taxes
                                                                                and insurance
                                                                                directly. Other
                                                                                terms as outlined
                                                                                in Class 19
                                                                                Stipulation (Doc.
                                                                                1009)
19   Additional Class 19 Plan terms:

     Upon completion of the Class 19 payments (whether over the full Plan term or completed
     via pre-payment), the lien of HSBC Bank shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

20   Riverside Condo            Lien on                                         Terms as
     Association                property located                                outlined in
     c/o Frank, Weinberg &      at:                                             agreement
     Black, P.L.                2711 N Halifax                                  attached to 9019
     David Neal Stern, Esq.     Ave #796,                                       Motion (Doc.
     1875 NW Corporate          Daytona Beach,                                  No. 226) subject
     Blvd., Suite 100           FL 32118                                        to court approval
     Boca Raton, FL 33431        (POC #72)                                      of 9019 motion




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20   Additional Class 20 Plan terms:

     Upon completion of the Class 20 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Riverside Condo shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

21   PNC Bank                   First Mortgage     9%          $40,000         $300 per month
     Successor in interest to   on property                                    interest only
     Woodlea Investment         located at:                                    commencing
     Company                    444 N.                                         August 1 2019
     c/o Amanda Renee           Peninsula                                      and continuing
     Murphy, Esq.               Drive, Daytona                                 monthly until
     O’Kelley & Sorohan,        Beach, FL                                      September 1
     LLC                        32118                                          2023. Balloon
     2290 Lucien Way,                                                          payment due
     Suite 205                  (POC #73)                                      October 1, 2023
     Maitland, FL 32751                                                        in the amount of
     (POC #73)                                                                 $40,000. Debtor
                                                                               to maintain taxes
                                                                               and insurance
                                                                               directly
21   Additional Class 21 Plan terms:

     Upon completion of the Class 21 payments (whether over the full Plan term or completed
     via pre-payment), the lien of PNC Bank shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

     Terms as outlined in Stipulation (Doc. 521) incorporated by reference as though fully set
     forth herein

22   HSBC Bank         First Mortgage 6%            $96,353.36      $577.69      per    month
     c/o     Ocwen     on     property              ($90,405.72     principal and interest for
     Loan              located at:                  plus    2018    months 1-360; Debtor to
     Attn:             507 Phoenix                  taxes      of   maintain      taxes    and
     Cashiering        Ave., Daytona                $3,068.66       insurance directly.
     Dept              Beach,      FL               and     2019
     1661              32118                        taxes      of   Payments shall commence

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     Worthington    (POC #74)                       $2,878.98)      on the first (1st) day of the
     Road                                                           month following entry of a
     Suite 100                                                      Confirmation Order in the
     West      Palm                                                 amount of $577.69 per
     Beach,      FL                                                 month      principal     and
     33409                                                          interest.
      (Acct #5118)
                                                                    Other terms as outlined in
                                                                    Class 22 Stipulation (Doc.
                                                                    1152)



22   Additional Class 22 Plan terms:

     Upon completion of the Class 22 payments (whether over the full Plan term or completed
     via pre-payment), the lien of HSBC Bank shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

23   HSBC Bank                  First Mortgage     4%          $126,415.93     $603.53 per
     c/o Ocwen Loan             on property                    (based on       month principal
     Attn: Cashiering Dept      located at:                    full claim      and interest for
     1661 Worthington           330 N.                         amount)         months 1-360;
     Road                       Peninsula Dr.,                                 Debtor to
     Suite 100                  Daytona Beach,                                 maintain taxes
     West Palm Beach, FL        FL 32118                                       and insurance
     33409                                                                     directly
      (Acct #9982)              (POC #75)

23   Additional Class 23 Plan terms:

     Upon completion of the Class 23 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Deutsche Bank shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

24   Deutsche Bank First Mortgage 6%                $93,736.28      $562.00 per month principal
     c/o    Ocwen on      property                  ($88,772.66     and interest for months 1-

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     Loan               located at:                 plus   2018     360; Debtor to maintain
     Attn:              420          N              taxes      of   taxes and insurance directly.
     Cashiering         Peninsula Dr.,              $2,558.60       Payments shall commence
     Dept               Daytona                     and    2019     on the first (1st) day of the
     1661               Beach,      FL              taxes      of   month following entry of a
     Worthington        32118                       $2,405.02)      Confirmation Order in the
     Road               (POC #76)                                   amount of $562.00 per
     Suite 100                                                      month principal and interest.
     West      Palm
     Beach,      FL                                                 Other terms as outlined in
     33409                                                          Class 24 Stipulation (Doc.
      (Acct #8016)                                                  1105).


24   Additional Class 24 Plan terms:

     Upon completion of the Class 24 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Deutsche Bank shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

25   U.S. Bank, N.A.            First Mortgage     6%          $251,682.24     $1,384.46 per
     c/o SN Servicing           on property                    ($239,000       month principal
                                located at:                    plus 2018       and interest for
                                508 Eastwood,                  taxes of        months 1-480
                                Daytona Beach,                 $6,607.89       (commencing
                                FL 32118                       plus 2019       March 1, 2020);
                                                               taxes of        Debtor to
                                (POC #77)                      $6,074.35)      maintain taxes
                                                               (based on       and insurance
                                                               Class 25        directly. Other
                                                               Stipulation     terms as outlined
                                                               (Doc. 1001)     in Class 25
                                                                               Stipulation (Doc.
                                                                               1001)
25   Additional Class 25 Plan terms:

     Upon completion of the Class 25 payments (whether over the full Plan term or completed
     via pre-payment), the lien of U.S. Bank c/o SN Servicing shall be null and void and no
     longer of any further force or effect.


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     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

26   City of Daytona Beach      Lien on          4%            $556            $47 per month
     c/o Mayor Derrick          property located                               principal and
     Henry                      at:                                            interest for
     301 S. Ridgewood Ave.      216                                            months 1-12;
     Room 127                   Morningside
     Daytona Beach, FL          Ave., Daytona
     32114                      Beach, FL
                                32118

                              Volusia County
                              Instrument
                              #2008114643
26   Additional Class 26 Plan terms:

     Upon completion of the Class 26 payments (whether over the full Plan term or completed
     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 6239, Page 4823 shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

27   City of Daytona Beach      Lien on          4%            $0 secured      No Secured
     c/o Mayor Derrick          property located               ($20,000        payments
     Henry                      at:                            unsecured)      (Wholly
     301 S. Ridgewood Ave.      121 S.                                         Unsecured
     Room 127                   Grandview                                      claim of $20,000
     Daytona Beach, FL          Ave., Daytona                                  allowed pro rata
     32114                      Beach, FL                                      distribution in
                                32118                                          unsecured class)

                              Volusia County
                              Instrument
                              #201192730
27   Additional Class 27 Plan terms:

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the judgment recorded at Volusia County OR Book 6650, Page
     4356 shall be null and void and no longer of any further force or effect.


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     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

28   City of Daytona Beach      Lien on          4%            $663            $56 per month
     City Hall                  property located                               principal and
     301 S. Ridgewood Ave.      at:                                            interest for
     Room 127                   508 Eastwood                                   months 1-12;
     Daytona Beach, FL          Lane, Daytona
     32114                      Beach

                              Volusia County
                              Instrument
                              #2012033645
28   Additional Class 28 Plan terms:

     Upon completion of the Class 28 payments (whether over the full Plan term or completed
     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 6683, Page 4551 shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

29   21st Mortgage              First mortgage     5%          $184,091.42     Commencing
     Corporation                on property                    (value of       February 1, 2019
     PO Box 477                 located at:                    $182,000 +      payments of
     Knoxville, TN 37901                                       post-petition   $988.24 per
                                121 S.                         advance of      month consisting
     Acct #9916                 Grandview,                     $2,091.42)      of principal and
                                Daytona Beach                                  interest for 360
                                FL 32118                                       months. Debtor
                                                                               to pay taxes and
                                                                               insurance
                                                                               directly.
29   Additional Class 29 Plan terms:

     Upon completion of the Class 29 payments (whether over the full Plan term or completed
     via pre-payment), the lien of the 21st Mortgage shall be null and void and no longer of
     any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.


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     Terms as outlined in Stipulation (Doc. 344) incorporated by reference as though fully set
     forth herein

30   City of Daytona Beach      Lien on          n/a           $0              Lien void per
     City Hall                  property located                               court order (Doc.
     301 S. Ridgewood Ave.      at:                                            382)
     Room 127                   121 S.                                         Order Sustaining
     Daytona Beach, FL          Grandview,                                     Objection to
     32114                      Daytona Beach                                  Claim 80 (Doc.
                                FL 32118                                       511)

                              Volusia County
                              Instrument
                              #2013202019
30   Additional Class 30 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 382)

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 6919, Page 3925
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

31   City of Daytona Beach      Lien on          n/a           $0              Lien void per
     City Hall                  property located                               court order (Doc.
     301 S. Ridgewood Ave.      at:                                            379)
     Room 127                   121 S.                                         Order Sustaining
     Daytona Beach, FL          Grandview,                                     Objection to
     32114                      Daytona Beach                                  Claim 80 (Doc.
                                FL 32118                                       511)

                              Volusia County
                              Instrument
                              #2014174360
31   Additional Class 31 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 379)

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7036, Page 2590
     shall be null and void and no longer of any further force or effect.

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     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

32   City of Daytona Beach      Lien on                        $0 secured      Lien void per
     City Hall                  property located                               court order (Doc.
     301 S. Ridgewood Ave.      at:                                            386)
     Room 127                   317 aka 315 ½                                  Order Sustaining
     Daytona Beach, FL          N. Hollywood,                                  Objection to
     32114                      Daytona Beach                                  Claim 80 (Doc.
                                FL 32118                                       511)

                              Volusia County
                              Instrument
                              #2014154109
32   Additional Class 32 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 386)

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7025, Page 2142
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

33   Ocwen Loan                 First mortgage      4%         $51,496         $245.85 per
     Attn: Cashiering Dept      on property                    (Schedule D)    month principal
     1661 Worthington           located at:                                    and interest for
     Road                       311 & 313 N.                                   months 1-360;
     Suite 100                  Hollywood,                                     Debtor to
     West Palm Beach, FL        Daytona Beach                                  maintain taxes
     33409                      FL 32118                                       and insurance
                                                                               directly

33   Additional Class 33 Plan terms:

     Upon completion of the Class 33 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Ocwen Loan Servicing shall be null and void and no longer
     of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

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34   City of Daytona Beach      Lien on          n/a           $0              Lien void per
     City Hall                  property located                               court order (Doc.
     301 S. Ridgewood Ave.      at:                                            381)
     Room 127                   311 & 313 N.
     Daytona Beach, FL          Hollywood,                                     Claim
     32114                      Daytona Beach                                  disallowed
                                FL 32118
                                                                               Order Sustaining
                              Volusia County                                   Objection to
                              Instrument                                       Claim 80 (Doc.
                              #2014174354                                      511)
34   Additional Class 34 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 381)

     Upon entry of an Order Granting Debtor’s Motion to Determine Lien Null and Void, the
     lien of City of Daytona Beach established by the lien recorded at Volusia County OR
     Book 7036, Page 2582 shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

35   City of Daytona Beach      Lien on          n/a           $0              Claim and lien to
     City Hall                  property located                               disallowed
     301 S. Ridgewood Ave.      at:                                            pursuant to court
     Room 127                   216                                            order (Doc. 392)
     Daytona Beach, FL          Morningside,
     32114                      Daytona Beach                                  Order Sustaining
                                FL 32118                                       Objection to
                                                                               Claim 80 (Doc.
                              Volusia County                                   511)
                              Instrument
                              #2014174356
35   Additional Class 35 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 392)

     Upon entry of an Order Granting Debtor’s Motion to Determine Lien Null and Void, the
     lien of City of Daytona Beach established by the lien recorded at Volusia County OR
     Book 7036, Page 2584 shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish

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     clear title for Debtor.

36   Wells Fargo Home           First mortgage     4%          $99,770.10      $476.32 per
     Mortgage                   on property                    (Sch. D)        month principal
     PO Box 14411               located at:                                    and interest for
     Des Moines, IA 50306       13 South                                       months 1-360;
                                Peninsula
                                Drive, Daytona
     Acct #8208                 Beach, FL
                                32118


36   Additional Class 36 Plan terms:

     Upon completion of the Class 36 payments (whether over the full Plan term or completed
     via pre-payment), the first mortgage lien of Wells Fargo Home Mortgage shall be null
     and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

37   City of Daytona Beach      Lien on          n/a           $0              Claim and lien
     City Hall                  property located                               be disallowed
     301 S. Ridgewood Ave.      at:                                            pursuant to court
     Room 127                   13 South                                       order (Doc. 384)
     Daytona Beach, FL          Peninsula
     32114                      Drive, Daytona                                 Order Sustaining
                                Beach, FL                                      Objection to
                                32118                                          Claim 80 (Doc.
                                                                               511)
                                Volusia County
                                Instrument
                                #2014225720


37   Additional Class 37 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 384)

     Upon entry of an Order Granting Debtor’s Motion to Determine Lien Null and Void, the
     lien of City of Daytona Beach established by the lien recorded at Volusia County OR
     Book 7064, Page 4340 shall be null and void and no longer of any further force or effect.


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     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

38   City of Daytona Beach      Lien on          n/a           $0              Lien void per
     City Hall                  property located                               court order (Doc.
     301 S. Ridgewood Ave.      at:                                            385)
     Room 127                   319 N.
     Daytona Beach, FL          Hollywood,                                     Order Sustaining
     32114                      Daytona Beach,                                 Objection to
                                FL 32118                                       Claim 80 (Doc.
                                                                               511)
                                Volusia County
                                Instrument
                                #2014225721


38   Additional Class 38 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 385)

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7064, Page 4341
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

39   City of Daytona Beach      Lien on          n/a           $0              Lien void per
     City Hall                  property located                               court order
     301 S. Ridgewood Ave.      at:                                            (Doc. 390)
     Room 127                   21 S. Peninsula,
     Daytona Beach, FL          Daytona Beach,                                 Order Sustaining
     32114                      FL 32118                                       Objection to
                                                                               Claim 80 (Doc.
                                Volusia County                                 511)
                                Instrument
                                #2014225808


39   Additional Class 39 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 390)


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     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7064, Page 4575
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

40   City of Daytona Beach      Lien on          n/a           $0              Claim and lien to
     City Hall                  property located                               be disallowed
     301 S. Ridgewood Ave.      at:                                            pursuant to court
     Room 127                   615 Wisteria                                   order (Doc. 377)
     Daytona Beach, FL          Rd, Daytona
     32114                      Beach, FL                                      Order Sustaining
                                32118                                          Objection to
                                                                               Claim 80 (Doc.
                                Volusia County                                 511)
                                Instrument
                                #2015014251


40   Additional Class 40 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 377)

     Upon entry of an Order Granting Debtor’s Motion to Determine Lien Null and Void, the
     lien of City of Daytona Beach established by the lien recorded at Volusia County OR
     Book 7077, Page 272 shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

41   City of Daytona Beach      Lien on          n/a           $0              Lien void per
     City Hall                  property located                               court order (Doc.
     301 S. Ridgewood Ave.      at:                                            380)
     Room 127                   229 N.                                         No Secured
     Daytona Beach, FL          Hollywood,
     32114                      Daytona Beach,                                 Order Sustaining
                                FL 32118                                       Objection to
                                                                               Claim 80 (Doc.
                                Volusia County                                 511)
                                Instrument
                                #2015072121


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41   Additional Class 41 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 380)

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7108, Page 1927
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

42   City of Daytona Beach      Lien on          n/a           $0              Lien void per
     City Hall                  property located                               court order (Doc.
     301 S. Ridgewood Ave.      at:                                            387)
     Room 127                   358 Nautilus
     Daytona Beach, FL          Ave, Daytona                                   Order Sustaining
     32114                      Beach, FL                                      Objection to
                                32118                                          Claim 80 (Doc.
                                                                               511)
                                Volusia County
                                Instrument
                                #2015072141


42   Additional Class 42 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 387)

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7108, Page 2001
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

43   City of Daytona Beach      Lien on          n/a           $0              Claim and lien to
     City Hall                  property located                               be disallowed
     301 S. Ridgewood Ave.      at:                                            pursuant to court
     Room 127                   507 Phoenix                                    order (Doc. 378)
     Daytona Beach, FL          Ave, Daytona
     32114                      Beach, FL                                      Order Sustaining
                                32118                                          Objection to

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                                                                               Claim 80 (Doc.
                                Volusia County                                 511)
                                Instrument
                                #2015072142


43   Additional Class 43 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 378)

     Upon entry of an Order Granting Debtor’s Motion to Determine Lien Null and Void, the
     lien of City of Daytona Beach established by the lien recorded at Volusia County OR
     Book 7108, Page 2002 shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

44   City of Daytona Beach      Lien on          n/a           $0              Lien void per
     City Hall                  property located                               court order (Doc.
     301 S. Ridgewood Ave.      at:                                            393)
     Room 127                   21 S. Peninsula,
     Daytona Beach, FL          Daytona Beach,                                 Order Sustaining
     32114                      FL 32118                                       Objection to
                                                                               Claim 80 (Doc.
                                Volusia County                                 511)
                                Instrument
                                #2015090960


44   Additional Class 44 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 393)

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7118, Page 2503
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

45   City of Daytona Beach Lien on          n/a                $0              Lien void per
     City Hall             property located                                    court order (Doc.
     301 S. Ridgewood Ave. at:                                                 389)

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     Room 127                   509 Harvey
     Daytona Beach, FL          Ave & 511,                                     Order Sustaining
     32114                      Daytona Beach,                                 Objection to
                                FL 32118                                       Claim 80 (Doc.
                                                                               511)
                                Volusia County
                                Instrument
                                #2015131639


45   Additional Class 45 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 389)

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7140, Page 4378
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

46   City of Daytona Beach      Lien on          n/a           $0              Claim and lien to
     City Hall                  property located                               be disallowed
     301 S. Ridgewood Ave.      at:                                            pursuant to court
     Room 127                   236 N.                                         order (Doc. 391)
     Daytona Beach, FL          Peninsula,
     32114                      Daytona Beach,                                 Order Sustaining
                                FL 32118                                       Objection to
                                                                               Claim 80 (Doc.
                                Volusia County                                 511)
                                Instrument
                                #2015131643


46   Additional Class 46 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 391)

     Upon entry of an Order Granting Debtor’s Motion to Determine Lien Null and Void, the
     lien of City of Daytona Beach established by the lien recorded at Volusia County OR
     Book 7140, Page 4388 shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish

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     clear title for Debtor.

47   City of Daytona Beach      Lien on          n/a           $0 secured      No Secured
     City Hall                  property located               ($17,300        payments
     301 S. Ridgewood Ave.      at:                            unsecured)      (Wholly
     Room 127                   3764 Cardinal                                  Unsecured
     Daytona Beach, FL          Blvd, Daytona                                  claim of $17,300
     32114                      Beach, FL                                      allowed pro rata
                                32118                                          distribution in
                                                                               unsecured class)
                                Volusia County
                                Instrument
                                #2017002567


47   Additional Class 47 Plan terms:

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7345, Page 4677
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

48   City of Daytona Beach      Lien on          n/a           $0 secured      No Secured
     City Hall                  property located               ($15,000        payments
     301 S. Ridgewood Ave.      at:                            unsecured)      (Wholly
     Room 127                   358 Nautilus,                                  Unsecured
     Daytona Beach, FL          Daytona Beach,                                 claim of $15,000
     32114                      FL 32118                                       allowed pro rata
                                                                               distribution in
                                Volusia County                                 unsecured class)
                                Instrument
                                #2017079231


48   Additional Class 48 Plan terms:

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7388, Page 2882
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish

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     clear title for Debtor.

49   City of Daytona Beach      Lien on          4%            $500            $42.57 per
     City Hall                  property located                               month principal
     301 S. Ridgewood Ave.      at:                                            and interest for
     Room 127                   320 N.                                         months 1-12;
     Daytona Beach, FL          Peninsula,
     32114                      Daytona Beach,
                                FL 32118

                                Volusia County
                                Instrument
                                #2017140413


49   Additional Class 49 Plan terms:

     Upon completion of the Class 49 payments (whether over the full Plan term or completed
     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 7424, Page 3264 shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

50   City of Daytona Beach      Lien on          n/a           $0 secured      No Secured
     City Hall                  property located               ($250           payments
     301 S. Ridgewood Ave.      at:                            unsecured)      (Wholly
     Room 127                   319 N.                                         Unsecured
     Daytona Beach, FL          Hollywood,                                     claim of $250
     32114                      Daytona Beach,                                 allowed pro rata
                                FL 32118                                       distribution in
                                                                               unsecured class)
                                Volusia County
                                Instrument
                                #2017140414


50   Additional Class 50 Plan terms:

     Upon completion of the Class 50 payments (whether over the full Plan term or completed
     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 7424, Page 3265 shall be null and void and no longer of any

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     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

51   City of Daytona Beach      Lien on          n/a           $0 secured      No Secured
     City Hall                  property located               ($850           payments
     301 S. Ridgewood Ave.      at:                            unsecured)      (Wholly
     Room 127                   229 N.                                         Unsecured
     Daytona Beach, FL          Hollywood,                                     claim of $850
     32114                      Daytona Beach,                                 allowed pro rata
                                FL 32118                                       distribution in
                                                                               unsecured class)
                                Volusia County
                                Instrument
                                #2017144765


51   Additional Class 51 Plan terms:

     Upon completion of the Class 51 payments (whether over the full Plan term or completed
     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 7424, Page 830 shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

52   City of South Daytona      Lien on          4%            $7,500          $75.93 per
     City Hall                  property located                               month principal
     1672 S. Ridgewood          at:                                            and interest for
     Ave.,                      813 Big Tree,                                  months 1-120
     South Daytona, FL          Daytona Beach,
     32119                      FL 32118

                                Volusia County
                                Instrument
                                #2017185564


52   Additional Class 52 Plan terms:

     Upon completion of the Class 52 payments (whether over the full Plan term or completed

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     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 7451, Page 1631 shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

53   City of Daytona Beach      Lien on          4%            $250            Paid in full at
     City Hall                  property located                               confirmation
     301 S. Ridgewood Ave.      at:
     Room 127                   312 N.
     Daytona Beach, FL          Peninsula
     32114                      Drive, Daytona
                                Beach, FL
                                32118

                                Volusia County
                                Instrument
                                #2017221622


53   Additional Class 53 Plan terms:

     Upon completion of the Class 53 payments (whether over the full Plan term or completed
     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 7472, Page 441 shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

54   City of Daytona Beach      Lien on          n/a           $3,000          $3,000 paid on
     City Hall                  property located                               or before
     301 S. Ridgewood Ave.      at:                                            December 7,
     Room 127                   311 & 313 N.                                   2019
     Daytona Beach, FL          Hollywood
     32114                      Drive, Daytona
                                Beach, FL
                                32118

                                Volusia County
                                Instrument
                                #2018007361

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54   Additional Class 54 Plan terms:

     Upon completion of the Class 54 payments (whether over the full Plan term or completed
     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 7494, Page 4192 shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

55   City of Daytona Beach      Lien on          n/a           $500             $500 paid by
     City Hall                  property located                                January 10, 2020
     301 S. Ridgewood Ave.      at:
     Room 127                   232 N.
     Daytona Beach, FL          Peninsula,
     32114                      Daytona Beach,
                                FL 32118

                                Volusia County
                                Instrument
                                #2018007365


55   Additional Class 55 Plan terms:

     Upon completion of the Class 55 payments (whether over the full Plan term or completed
     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 7494, Page 4198 shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

56   HSBC Bank                  First Mortgage     4%          $61,000          $291.22 per
     c/o Ocwen Loan             on property                    (based on full   month principal
     Attn: Cashiering Dept      located at:                    claim as         and interest for
     1661 Worthington Road      232 N                          listed on        months 1-360;
     Suite 100                  Peninsula Dr.,                 Schedule D)      Debtor to
     West Palm Beach, FL        Daytona Beach,                                  maintain taxes
     33409                      FL 32118                                        and insurance
      (Acct #5142)              (Sch. D)                                        directly

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56   Additional Class 56_Plan terms:

     Upon completion of the Class 56 payments (whether over the full Plan term or completed
     via pre-payment), the lien of HSBC Bank shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

57   Rhett & Patricia           First Mortgage     Terms as outlined in the Motion for
     Johnston                   on property        Approval of Settlement Agreement (Doc.
     c/o Armistead W. Ellis     located at:        660) and the Settlement Agreement attached
     Jr. Esq.                   3970 Cardinal      thereto
     PO Box 127                 Blvd., Daytona
     Daytona Beach, FL          Beach, FL
     32115                      32118
                                (Sch. D)

57   Additional Class 57 Plan terms:

     Upon completion of the Class 57 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Rhett & Patricia Johnston shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

58   Rhett & Patricia           First Mortgage     Terms as outlined in the Motion for
     Johnston                   on property        Approval of Settlement Agreement (Doc.
     c/o Armistead W. Ellis     located at:        660) and the Settlement Agreement attached
     Jr. Esq.                   3 Carter           thereto
     PO Box 127                 Terrace,
     Daytona Beach, FL          Daytona Beach,
     32115                      FL 32118
                                (Sch. D)

58   Additional Class 58 Plan terms:

     Upon completion of the Class 58 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Rhett & Patricia Johnston shall be null and void and no
     longer of any further force or effect.

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     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

59   Rhett & Patricia           First Mortgage      Terms as outlined in the Motion for
     Johnston                   on property         Approval of Settlement Agreement (Doc.
     c/o Armistead W. Ellis     located at:         660) and the Settlement Agreement attached
     Jr. Esq.                   21 S. Peninsula,    thereto
     PO Box 127                 Daytona Beach,
     Daytona Beach, FL          FL 32118
     32115                      (Sch. D)


59   Additional Class 59 Plan terms:

     Upon completion of the Class 59 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Rhett & Patricia Johnston shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

60   Wells Fargo Home         First Mortgage        4%         $40,413.33      $192.94 per
     Mortgage                 on property                      (based on       month principal
     PO Box 14411             located at:                      Schedule D)     and interest for
     Des Moines, IA 50306     615 Wisteria                                     months 1-360;
                              Rd., Daytona                                     Debtor to
                              Beach, FL                                        maintain taxes
                              32118                                            and insurance
                              (Sch. D)                                         directly
60   Additional Class 60 Plan terms:

     Upon completion of the Class 60 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Wells Fargo Home Mortgage shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

61   U.S. Bank,        First            6%           $127,901.04    $766.83 per month principal
     N.A. c/o          Mortgage on                   ($122,000      and interest for months 1-
     Nationstar        property                      value plus     360; Debtor to maintain
     Mortgage          located at:                   $5,901.04      taxes and insurance directly.

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     PO         Box    229 N.                       post-petition
     619096            Hollywood                    escrow          Payments shall commence
     Dallas, TX        Ave., Daytona                advances)       on the first (1st) day of the
     75261-9741        Beach, FL                                    month following entry of a
                       32118                                        Confirmation Order in the
                                                                    amount of $766.83 per
                                                                    month principal and interest.

                                                                    Other terms as outlined in
                                                                    Class 61 Stipulation (Doc.
                                                                    1106)
61   Additional Class 61 Plan terms:

     Upon completion of the Class 61 payments (whether over the full Plan term or completed
     via pre-payment), the lien of U.S. Bank c/o Nationstar Mortgage shall be null and void
     and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

62   Bank of New       First            6%          $127,279        $763.10 per month principal
     York Mellon       Mortgage on                  ($122,000       and interest for months 1-
     c/o Nationstar    property                     value plus      360; Debtor to maintain
     Mortgage          located at:                  $5,279 post-    taxes and insurance directly.
     PO         Box    509/511                      petition
     619096            Harvey Ave,                  escrow          Payments shall commence
     Dallas, TX        Daytona                      advances)       on the first (1st) day of the
     75261-9741        Beach, FL                                    month following entry of a
     (Acct #4602)      32118                                        Confirmation Order in the
                       (POC #85)                                    amount of $763.10 per
                                                                    month principal and interest.

                                                                    Other terms as outlined in
                                                                    Class 62 Stipulation (Doc.
                                                                    1098)
62   Additional Class 62 Plan terms:

     Upon completion of the Class 62 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Bank of New York Mellon c/o Nationstar Mortgage shall be
     null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

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63   Marian Price             First Mortgage       4%          $127,526        $608.83 per
     116 Venetian Way         on property                                      month principal
     Port Orange, FL 32127    located at:                                      and interest for
                              813 Big Tree                                     months 1-360;
                              Rd, South                                        Debtor to
                              Daytona Beach,                                   maintain taxes
                              FL 32118                                         and insurance
                              (Sch. D)                                         directly
63   Additional Class 63 Plan terms:

     Upon completion of the Class 63 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Marian Price shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

64   Wells Fargo Home         First Mortgage       4%          $109,619.83     $523.34 per
     Mortgage                 on property                      (Sch. D)        month principal
     PO Box 14411             located at:                                      and interest for
     Des Moines, IA 50306     514 Phoenix                                      months 1-360;
                              Ave., Daytona                                    Debtor to
                              Beach, FL                                        maintain taxes
                              32118                                            and insurance
                              (Sch. D)                                         directly
64   Additional Class 64 Plan terms:

     Upon completion of the Class 64 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Wells Fargo Home Mortgage shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

65   Wells Fargo Home           First Mortgage     6%          $110,099.87     Commencing
     Mortgage                   on property                                    February 1, 2020
     PO Box 14411               located at:                                    payments of
     Des Moines, IA 50306       433 N.                                         $660.10 per
                                Peninsula,                                     month consisting
                                Daytona Beach,                                 of principal and
                                FL 32118                                       interest for 360
                                (Sch. D)                                       months. Debtor

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                                                                               to pay taxes and
                                                                               insurance
                                                                               directly

                                                                               Other terms as
                                                                               outlined in Class
                                                                               65 Stipulation
                                                                               (Doc. 935)
65   Additional Class 65 Plan terms:

     Upon completion of the Class 65 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Wells Fargo Home Mortgage shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

66   Wells Fargo Home           First Mortgage     6%          $84,195         $504.79 per
     Mortgage                   on property                    (order          month principal
     PO Box 14411               located at:                    granting        and interest for
     Des Moines, IA 50306       428 N.                         motion to       months 1-360
                                Peninsula,                     value (Doc.     commencing
                                Daytona Beach,                 504))           March 1, 2020;
                                FL 32118                                       Debtor to
                                (Sch. D)                                       maintain taxes
                                                                               and insurance
                                                                               directly. Other
                                                                               terms as outlined
                                                                               in Class 66
                                                                               Stipulation (Doc.
                                                                               964)
66   Additional Class 66 Plan terms:

     Upon completion of the Class 66 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Wells Fargo Home Mortgage shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

67   Ocwen                 First Mortgage          4%          $119,905.16     $572.45 per
     Attn: Cashiering Dept on property                         (Sch. D)        month principal
     1661 Worthington Road located at:                                         and interest for

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     Suite 100                308 N.                                           months 1-360;
     West Palm Beach, FL      Peninsula,                                       Debtor to
     33409                    Daytona Beach,                                   maintain taxes
                              FL 32118                                         and insurance
                              (Sch. D)                                         directly
67   Additional Class 67 Plan terms:

     Upon completion of the Class 67 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Ocwen Loan Servicing LLC shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

68   Bank of New York         First Mortgage       4%          $154,346        $736.87 per
     Mellon c/o               on property                      (based on       month principal
     Nationstar Mortgage      located at:                      motion to       and interest for
     Dba Mr. Cooper           101 Carolyn                      value)          months 1-360;
     8950 Cypress Waters      Terrace,                                         Debtor to
     Blvd.                    Daytona Beach,                                   maintain taxes
     Coppell, TX 75019        FL 32118                                         and insurance
                              (Sch. D)                                         directly
68   Additional Class 68 Plan terms:

     Upon completion of the Class 68 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Nationstar Mortgage dba Mr. Cooper shall be null and void
     and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

69   Ocwen Loan Servicing       First Mortgage     6%          $91,932.04      $551.18 per
     Attn: Cashiering Dept      on property                                    month principal
     1661 Worthington Road      located at:                                    and interest for
     Suite 100                  216                                            months 1-360.
     West Palm Beach, FL        Morningside                                    Payments
     33409                      Ave, South                                     commence April
                                Daytona Beach,                                 1, 2020. Debtor
                                FL 32118                                       to maintain taxes
                                (POC #79)                                      and insurance
                                                                               directly. Other
                                                                               terms as outlined
                                                                               in Class 69

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                                                                               Stipulation (Doc.
                                                                               1038)
69   Additional Class 69 Plan terms:

     Upon completion of the Class 69 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Ocwen Loan Servicing shall be null and void and no longer
     of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

70   Ocwen Loan Servicing       First Mortgage      4%         $102,559        $489.63 per
     Attn: Cashiering Dept      on property                    (motion to      month principal
     1661 Worthington Road      located at:                    value order     and interest for
     Suite 100                  25 S. Peninsula,               (Doc. 505))     months 1-360;
     West Palm Beach, FL        Daytona Beach,                                 Debtor to
     33409                      FL 32118                                       maintain taxes
                                (Sch. D)                                       and insurance
                                                                               directly
70   Additional Class 70 Plan terms:

     Order entered granting motion to value (Doc. 505)

     Upon completion of the Class 70 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Ocwen Loan Servicing shall be null and void and no longer
     of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

71   Wells Fargo Home         First Mortgage        4%         $72,000         $343.74 per
     Mortgage                 on property                      (Sch. D)        month principal
     PO Box 14411             located at:                                      and interest for
     Des Moines, IA 50306     115 Ogden                                        months 1-360;
                              Blvd, Daytona                                    Debtor to
                              Beach, FL                                        maintain taxes
                              32118                                            and insurance
                              (Sch. D)                                         directly
71   Additional Class 71 Plan terms:

     Upon completion of the Class 71 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Wells Fargo Home Mortgage shall be null and void and no
     longer of any further force or effect.

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          The court reserves jurisdiction to enter further orders as may be necessary to establish
          clear title for Debtor.



SECURED CLAIMS – Impaired/Not Subject to Valuation and retention of lien (unless

stated otherwise for wholly unsecured claims):

 Class:   Creditor:                  Collateral:        Interest    Amount          Payment:
                                                        Rate:       Allowed:
 72       Volusia County Tax         2018-2019 Ad       18%         $532.41        $13.52 per month
          Collector                  Valorem Taxes                                 principal and
                                     Ad Valorem                                    interest for
          Plan Amended based         Taxes:                                        months 1-60;
          on Notice of               PARCEL#634103
          Withdrawal filed (Doc.     000161
          1117, 1119, 1121,          Monroe, Port
          1123)                      Orange, FL

 73       Volusia County Tax         2018 & 2019        18%         $4,125.85      $104.77 per
          Collector                  Ad Valorem                                    month principal
                                     Taxes: 358                                    and interest for
                                     Nautilus                                      months 1-60;
                                     Avenue,
                                     Daytona Beach,
                                     FL 32118

 74       Volusia County Tax         2018-2019 Ad       18%         $7,450.22      $189.19 per
          Collector                  Valorem Taxes:                                month principal
                                     PARCEL#533400                                 and interest for
          Plan amended based on      020193                                        months 1-60;
          Notice of Withdrawal       3 Carter,
          filed (Doc. 1139)          Daytona Beach,
                                     FL 32118

 75       Volusia County Tax         2018-2019 Ad       18%         $4,935.95      $125.34 per
          Collector                  Valorem Taxes:                                month principal
                                     PARCEL#530508                                 and interest for
          Plan amended based on      150032                                        months 1-60;
          Notice of Withdrawal       21 Peninsula,
          filed (Doc. 1141)          Daytona Beach,
                                     FL 32118
                                                38
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76   Volusia County Tax        2018-2019 Ad       18%       $3,890.27     $98.79 per month
     Collector                 Valorem Taxes:                             principal and
                               PARCEL#53051                               interest for
     Plan amended based on     0110070                                    months 1-60;
     Notice of Withdrawal      324 Peninsula,
     filed (Doc. 1143)         Daytona Beach,
                               FL 32118

77   Volusia County Tax        2018-2019 Ad       18%       $5,296.49     $134.50 per
     Collector                 Valorem Taxes:                             month principal
                               PARCEL#53340                               and interest for
     Plan amended based on     5000150                                    months 1-60;
     Notice of Withdrawal      100 Carolyn,
     filed (Doc. 1145)         Daytona Beach,
                               FL 32118

78   Volusia County Tax        2018-2019 Ad       18%       $10,127.67    $257.18 per
     Collector                 Valorem Taxes:                             month principal
                               PARCEL#630211                              and interest for
     Plan amended based on     000030                                     months 1-60
     Notice of Withdrawal      3790 Cardinal,
     filed (Doc. 1147)         Port Orange, FL
                               32127

79   Volusia County Tax        2018-2019 Ad       18%       $7,453.67     $189.27 per
     Collector                 Valorem Taxes:                             month principal
                               PARCEL#534416                              and interest for
     Plan amended based on     000872                                     months 1-60;
                               813 Big Tree,
     Notice of Withdrawal      South Daytona,
     filed (Doc. 1135, 1137)   FL

80   Volusia County Tax        2018-2019 Ad       18%       $532.41       $13.52 per month
     Collector                 Valorem Taxes:                             principal and
                               PARCEL#634103                              interest for
     Plan amended based on     000240                                     months 1-60
                               534 Lafayette,
     Notice of Withdrawal      Port Orange, FL
     filed (Doc. 1125, 1127,
     1129, 1131, 1133)
81   Volusia County Tax        2018-2019 Ad       18%       $521.90       $13.25 per month
     Collector                 Valorem Taxes:                             principal and
                               PARCEL#634103                              interest for
     Plan amended based on     000221                                     months 1-60
                               Monroe, Port
     Notice of Withdrawal      Orange, FL
                                         39
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          filed (Doc. 1107, 1109,
          1111, 1113, 1115)



UNSECURED CLAIMS: IMPAIRED

 Class:    Creditors:                                             Payments:
 82        All General Unsecured Claims, including any            $25 per month for sixty (60)
           wholly unsecured second mortgage claims                months. Pro rata distribution
           identified above and any unsecured portion of          to      general       unsecured
           claims valued pursuant to 11 U.S.C. § 506.             creditors, including unsecured
                                                                  claims       resulting     from
                                                                  valuation of secured claims
                                                                  treated above.


Equity Interests:

 Class:    Equity Holders:
 83        Jack Aberman – 100%

           Equity interests to vest in Jack Aberman upon the effective date.


SECURED CLAIMS – Impaired/Not Subject to Valuation and retention of lien (to the extent

of the allowed amount of the secured claim less payments made pursuant to the payment

schedule below; no retention of lien for avoided liens or wholly unsecured claims):

 Class:   Creditor:                 Collateral:        Interest   Amount           Payment:
                                                       Rate:      Allowed:
 84       320 FBR, LLC              First mortgage     6%         $15,000          Commencing
          1020 W. International     on property                                    March 1, 2019
          Speedway Blvd.,           located at:                                    payments of
          Ste 100                                                                  $126.58 per
          Daytona Beach, FL         Monroe St.,                                    month for sixty
          32114                     Port Orange, FL                                (60) months
                                    32127 – Parcel                                 based on a
                                    ID                                             secured claim of
                                    634103000161                                   $15,000
                                                                                   amortized over
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                                                                                   fifteen (15) years
                                                                                   with 6% interest.
                                                                                   Balloon payment
                                                                                   of remaining
                                                                                   principal and
                                                                                   interest due on
                                                                                   March 1, 2024.
                                                                                   If Debtor
                                                                                   completes all
                                                                                   sixty (60)
                                                                                   months of
84       Additional Class 84 Plan terms:

         Upon completion of the Class 84 payments (whether over the full Plan term or completed
         via pre-payment), the lien of 320 FBR, LLC shall be null and void and no longer of any
         further force or effect.

         The court reserves jurisdiction to enter further orders as may be necessary to establish
         clear title for Debtor.



SECURED CLAIMS – Impaired (lien extinguished upon lump sum payment)

Class:   Creditor:                  Collateral:         Interest   Amount          Payment:
                                                        Rate:      Allowed:
85       City of Daytona Beach      Lien on             n/a        $10,000         Lump sum
         City Hall                  property located                               payment of
         301 S. Ridgewood Ave.      at:                                            $10,000 on or
         Room 127                   Vacant lot.                                    before March 16,
         Daytona Beach, FL          Parcel ID                                      2020
         32114                      530401110120.
                                    S. Grandview
                                    Ave., Daytona
                                    Beach, FL (tax
                                    assessed value
                                    of $32,603)

                                    Volusia County
                                    OR Book 7266
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 85       Additional Class 85 Plan terms:

          Upon completion of the Class 85 lump sum payment, the lien of City of Daytona Beach
          recorded at Volusia County OR Book 7266 Page 2530 shall be null and void and no
          longer of any further force or effect.

          Upon completion of the Class 85 payment, the City of Daytona Beach will dismiss the
          pending foreclosure action in case 2017-31369-CICI and take any other actions to remove
          any cloud on the title to the above-described collateral.

          The court reserves jurisdiction to enter further orders as may be necessary to establish
          clear title for Debtor.



SECURED CLAIMS – Impaired/Subject to Valuation and retention of lien:

 Class:   Creditor:       Collateral:        Interest    Amount           Payment:

                                             Rate:       Allowed:

 86       PNC     Bank, First Mortgage 4%                $13,216          $63.10 per month principal
          N.A.          on     property                  ($11,985         and interest for months 1-
                        located at:                      plus     post-   360; Debtor to maintain
                        Monroe      St.,                 petition         taxes    and     insurance
                        Port Orange,                     attorney fees    directly
                        FL        32127                  and costs of
                        Parcel       ID                  $1,231)
                        634103000221

 86       Additional Class 86 Plan terms:



          Upon completion of the Class 86 payments (whether over the full Plan term or completed
          via pre-payment), the lien of PNC Bank shall be null and void and no longer of any further
          force or effect.

          The court reserves jurisdiction to enter further orders as may be necessary to establish clear
          title for Debtor.




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SECURED CLAIMS – Impaired/Not Subject to Valuation and retention of lien (unless

stated otherwise for wholly unsecured claims):

 Class:   Creditor:               Collateral:       Interest   Amount        Payment:
                                                    Rate:      Allowed:
 87       Volusia County Tax      2018, 2019 Ad     18%        $4,145.36    $105.26 per
          Collector               Valorem Taxes:                            month principal
                                                                            and interest for
                                  311/313 N.                                months 1-60;
                                  Hollywood
                                  Ave., Daytona
                                  Beach, FL
                                  32118

 88       Volusia County Tax      2018, 2019 Ad     18%        $5,863.79    $148.90 per
          Collector               Valorem Taxes:                            month principal
                                                                            and interest for
                                  507 Phoenix                               months 1-60;
                                  Ave., Daytona
                                  Beach, FL
                                  32118

 89       Volusia County Tax      2018, 2019 Ad     18%        $7,426.80    $188.59 per
          Collector               Valorem Taxes:                            month principal
                                                                            and interest for
                                  308 N.                                    months 1-60;
                                  Peninsula,
                                  Daytona Beach,
                                  FL 32118

 90       Volusia County Tax      2018, 2019 Ad     18%        $4,893.57    $124.26 per
          Collector               Valorem Taxes:                            month principal
                                                                            and interest for
                                  420 N.                                    months 1-60;
                                  Peninsula,
                                  Daytona Beach,
                                  FL 32118

 91       Volusia County Tax      2018, 2019 Ad     18%        $1,130.96    $28.72 per month
          Collector               Valorem Taxes:                            principal and
                                                                            interest for
                                  S. Grandview,                             months 1-60;

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                             Daytona Beach,
                             FL 32118

                             Parcel ID:
                             530401110120

92   Volusia County Tax      2018, 2019 Ad     18%        $1,280.04    $32.50 per month
     Collector               Valorem Taxes:                            principal and
                                                                       interest for
                             N. Peninsula,                             months 1-60;
                             Daytona Beach,
                             FL 32118

                             Parcel ID:
                             530501260121

93   Volusia County Tax      2019 Ad           18%        $1,857.65    $47.17 per month
     Collector               Valorem Taxes:                            principal and
                                                                       interest for
                             320 N.                                    months 1-60;
                             Peninsula,
                             Daytona Beach,
                             FL 32118

94   Volusia County Tax      2018-2019 Ad      18%        $1,465.45    $37.21 per month
     Collector               Valorem Taxes:                            principal and
                                                                       interest for
                             444 N.                                    months 1-60;
                             Peninsula,
                             Daytona Beach,
                             FL 32118

95   John J. Asendorf        2012-2016 Ad      4%         $2,696.29    $49.66 per month
     PO Box 621171           Valorem Taxes:                            principal and
     Oviedo, FL 32762        PARCEL#6341                               interest for
                             03000221                                  months 1-60
     Plan amended based on   Monroe, Port
     Notice of Additional    Orange, FL
     Creditors (Doc. 1108,
     1110, 1112, 1114,
     1116)

96   BTI 2019 LLC            2012 Ad           4%         $643.99      $11.86 per month

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      1698 W. Hibiscus,      Valorem Taxes:                              principal and
      Suite A, Melbourne, FL PARCEL#6341                                 interest for
      32901                  03000161                                    months 1-60
                             Monroe, Port
      Plan amended based on Orange, FL
      Notice of Additional
      Creditors (Doc. 1118)

97    John J. Asendorf        2013-2015 Ad       4%          $1,671.81   $30.79 per month
      PO Box 621171           Valorem Taxes:                             principal and
      Oviedo, FL 32762        PARCEL#6341                                interest for
                              03000161                                   months 1-60
      Plan amended based on   Monroe, Port
      Notice of Additional    Orange, FL
      Creditors (Doc. 1120,
      1122, 1124)

98    BTI 2019 LLC            2012 Ad            4%          $643.99     $11.86 per month
      1698 W. Hibiscus,       Valorem Taxes:                             principal and
      Suite A,                PARCEL#634103                              interest for
      Melbourne, FL 32901     000240                                     months 1-60
                              534 Lafayette,
                              Port Orange, FL
      Plan amended based on
      Notice of Additional
      Creditors (Doc. 1126)

99    John J. Asendorf        2013-2016 Ad       4%          $2,131.86   $39.26 per month
      PO Box 621171           Valorem Taxes:                             principal and
      Oviedo, FL 32762        PARCEL#634103                              interest for
                              000240                                     months 1-60
                              534 Lafayette,
      Plan amended based on   Port Orange, FL
      Notice of Additional
      Creditors (Doc. 1128,
      1130, 1132, 1134)

100   Citrus Capital          2016-2017 Ad       0.25%       $3,233.62   $54.24 per month
      Holdings, LLC           Valorem Taxes:                             principal and
      PO Box 54226            PARCEL#534416      Interest                interest for
      New Orleans LA          000872             listed on               months 1-60
                              813 Big Tree,
      70154-4226              South Daytona,
                                                 Tax Cert
                              FL
      Plan amended based on
      Notice of Additional

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      Creditors (Doc. 1136,
      1138)

101   Keys Funding LLC        2017 Ad           0.25%       $4,138.82   $69.42 per month
      PO Box 645050           Valorem Taxes:                            principal and
      Cincinatti, OH 45264-   PARCEL#533400     Interest                interest for
      5040                    020193            listed on               months 1-60
                              3 Carter,         Tax Cert
      Plan amended based on   Daytona Beach,
      Notice of Additional    FL 32118
      Creditors (Doc. 1140)

102   Keys Funding LLC        2017 Ad           0.25%       $2,818.47   $47.27 per month
      PO Box 645050           Valorem Taxes:                            principal and
      Cincinatti, OH 45264-   PARCEL#533400     Interest                interest for
      5040                    020193            listed on               months 1-60
                              3 Carter,         Tax Cert
      Plan amended based on   Daytona Beach,
      Notice of Additional    FL 32118
      Creditors (Doc. 1142)

103   Keys Funding LLC        2017 Ad           0.25%       $2,274.15   $38.14 per month
      PO Box 645050           Valorem Taxes:                            principal and
      Cincinatti, OH 45264-   PARCEL#53051      Interest                interest for
      5040                    0110070           listed on               months 1-60
                              324 Peninsula,    Tax Cert
      Plan amended based on   Daytona Beach,
      Notice of Additional    FL 32118
      Creditors (Doc. 1144)

104   Keys Funding LLC        2017 Ad           0.25%       $2,163.04   $36.28 per month
      PO Box 645050           Valorem Taxes:                            principal and
      Cincinatti, OH 45264-   PARCEL#53340      Interest                interest for
      5040                    5000150           listed on               months 1-60
                              100 Carolyn,      Tax Cert
      Plan amended based on   Daytona Beach,
      Notice of Additional    FL 32118
      Creditors (Doc. 1146)

105   Citrus Capital          2017 Ad           0.25%       $5,803.05   $97.33 per month
      Holdings, LLC           Valorem Taxes:                            principal and
      PO Box 54226            PARCEL#630211     Interest                interest for
      New Orleans LA          000030            listed on               months 1-60
                              3790 Cardinal,
                                       46
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           70154-4226                 Port Orange, FL Tax Cert
                                      32127
           Plan amended based on
           Notice of Additional
           Creditors (Doc. 1148)




                                           ARTICLE III

                TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,

                   U.S. TRUSTEES FEES, AND PRIORITY TAX CLAIMS

3.01 Unclassified Claims. Under section §1123(a)(1), administrative expense claims, and priority

tax claims are not in classes.

3.02 Administrative Expense Claims. Each holder of an administrative expense claim allowed

under § 503 of the Code will be paid in full on the effective date of this Plan (as defined in Article

VII), in cash, or upon such other terms as may be agreed upon by the holder of the claim and the

Debtor.

3.03 Priority Tax Claims. Each holder of a priority tax claim will be paid in full by regular

installments within 5 years of the date of the filing of the Petition by the Debtor in Possession in

accordance with 11 U.S.C. § 1129(a)(9).

3.04 United States Trustee Fees. All fees required to be paid by 28 U.S.C. § 1930(a)(6) (U.S.

Trustee Fees) will accrue and be timely paid until the case is closed, dismissed, or converted to

another chapter of the Code. Any U.S. Trustee Fees owed on or before the effective date of this

Plan will be paid on the effective date.

                                           ARTICLE IV

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           TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

4.01 Claims and interests shall be treated as follows under this Plan:

Class Impairment Treatment



PRIORITY CLAIMS: Not Impaired

 Classes: Creditor:                              Interest:     Allowed Amount:        Payment:
 1        IRS                                    4%            $17,154.15             $601.82
          400 W. Bay Street M/S 5720                                                  per month
          Jacksonville, FL 32202                                                      for months
          (POC #44 filed October 16 2019)                                             1-30


SECURED CLAIMS – Impaired/Subject to Valuation and retention of lien (to the extent of

the allowed amount of the secured claim less payments made pursuant to the payment

schedule below; no retention of lien for avoided liens or wholly unsecured claims):

 Class:    Creditor:                 Collateral:         Interest   Amount          Payment:
                                                         Rate:      Allowed:
 2        IRS                      Secured claim         0%         $0              $0
          400 W. Bay Street M/S (POC #44-4)
          5720
          Jacksonville, FL 32202
          (POC #44 filed October
          16 2019)
 2        Additional Class 2 Plan terms:

          Upon entry of an Order Confirming Plan, the lien of IRS recorded at Volusia County OR
          Book 6743 Page 3405 (Instrument #2012140037) and recorded with the Florida Secretary
          of State UCC #12FLR0009928 shall be null and void and no longer of any further force
          or effect.

          The court reserves jurisdiction to enter further orders as may be necessary to establish
          clear title for Debtor.

 3        US Bank                    First Mortgage      6%         $65,749.24     $394.20 per
          c/o Specialized Loan       on property                    (based on full month for 360
                                                48
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    Servicing                   located at:                    claim            months
    PO Box 636007               317 aka 315 ½                  amount)          commencing
    Littleton, CO 80163         Hollywood,                                      November 1,
    (POC #46)                   Daytona Beach,                                  2019; Debtor to
                                FL 32118                                        maintain taxes
                                (POC #46)                                       and insurance
                                                                                directly. Other
                                                                                terms as outlined
                                                                                in Class 3
                                                                                Stipulation (Doc.
                                                                                749)
3   Additional Class 3 Plan terms:

    Upon completion of the Class 3 payments (whether over the full Plan term or completed
    via pre-payment), the lien of US Bank shall be null and void and no longer of any further
    force or effect.

    The court reserves jurisdiction to enter further orders as may be necessary to establish
    clear title for Debtor.

4   Avail 2, LLC                First Mortgage                 $104,728.51      Surrender
    c/o ClearSpring Loan        on property                    (based on        without waiving
    Services, Inc.              located at:                    confirmation     state law rights,
    18451 Dallas North          817 Big Tree                   order in prior   including,
    Parkway, Suite 100          Road, South                    case)            without
    Dallas, TX 75287            Daytona, FL                                     limitation right
    (POC #47)                   32119                                           to defend
                                (POC #47)                                       foreclosure
                                                                                action and bring
                                                                                counterclaims or
                                                                                affirmative
                                                                                defenses.
                                                                                Ownership of
                                                                                collateral
                                                                                remains with
                                                                                Debtor.
4   Additional Class 4 Plan terms:

    In rem relief from stay previously granted to creditor. Debtor maintains all non-
    bankruptcy rights, including, without limitation the right to defend any foreclosure action
    and bring counterclaims or affirmative defenses. Debtor shall continue to own the
    collateral. Creditor may seek to enforce its lien rights, to the extent any exist, as provided
    in the order granting in rem stay relief. Debtor reserves its rights under state law and

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    bankruptcy law, including but not limited to the right to file a motion to sell and/or file an
    objection to claim 47.

5   Redstick Acquisitions       First Mortgage     5%          $137,610.31      $738.72 per
    c/o SN Servicing            on property                    (based on        month principal
    PO Box 660820               located at:                    agreed order     and interest for
    Dallas, TX 75266            320 N.                         Doc. 746)        360 months
    (POC #48)                   Peninsula Dr.,                                  commencing
                                Daytona Beach,                                  November 1,
                                FL 32118                                        2019; Debtor to
                                (POC #48)                                       maintain taxes
                                                                                and insurance
                                                                                directly. Other
                                                                                terms as outlined
                                                                                in Agreed Order
                                                                                (Doc. 746)
5   Additional Class 5 Plan terms:

    Upon completion of the Class 5 payments (whether over the full Plan term or completed
    via pre-payment), the lien of Redstick Acquisitions c/o SN Servicing shall be null and
    void and no longer of any further force or effect.

    The court reserves jurisdiction to enter further orders as may be necessary to establish
    clear title for Debtor.

6   HSBC Bank                First Mortgage        4%          $123,780.52      $590.95 per
    c/o Ocwen                on property                       (based on full   month principal
    Attn: Cashiering Dept    located at:                       claim            and interest for
    1661 Worthington Road 100 Carolyn                          amount)          months 1-360;
    Suite 100                Terrace,                                           Debtor to
    West Palm Beach, FL      Daytona Beach,                                     maintain taxes
    33409                    FL 32118                                           and insurance
    (Acct #9958)             (POC #49)                                          directly
6   Additional Class 6 Plan terms:

    Upon completion of the Class 6 payments (whether over the full Plan term or completed
    via pre-payment), the lien of HSBC Bank shall be null and void and no longer of any
    further force or effect.

    The court reserves jurisdiction to enter further orders as may be necessary to establish
    clear title for Debtor.

7   US Bank, NA                 First Mortgage     4%          $63,986.97       $305.48 per

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    c/o PHH Mortgage         on property                      (based on full month principal
    (Acct #9040)             located at:                      claim          and interest for
                             324 N                            amount)        months 1-360;
                             Peninsula Dr,                                   Debtor to
                             Daytona Beach                                   maintain taxes
                             FL 32118-4036                                   and insurance
                              (POC #50)                                      directly
7   Additional Class 7 Plan terms:

    Upon completion of the Class 7 payments (whether over the full Plan term or completed
    via pre-payment), the lien of US Bank shall be null and void and no longer of any further
    force or effect.

    The court reserves jurisdiction to enter further orders as may be necessary to establish
    clear title for Debtor.

8   US Bank, NA              First Mortgage                   $131,109        $625.93 per
    c/o Ocwen                on property                      (based on tax   month principal
    Attn: Cashiering Dept    located at:                      assessed        and interest for
    1661 Worthington Road 1928 Marilyn                        value and       months 1-360;
    Suite 100                St., Daytona                     motion to       Debtor to
    West Palm Beach, FL      Beach FL                         value)          maintain taxes
    33409                    32118                                            and insurance
    (Acct #5751)              (POC #51)                                       directly
8   Additional Class 8 Plan terms:

    Upon completion of the Class 8 payments (whether over the full Plan term or completed
    via pre-payment), the lien of US Bank shall be null and void and no longer of any further
    force or effect.

    The court reserves jurisdiction to enter further orders as may be necessary to establish
    clear title for Debtor.

9   US Bank (successor in      First Mortgage     6%          $114,475.48     $686.34 per
    interest to                on property                    (based on       month principal
    Argent Mortgage)           located at:                    Stipulation     and interest for
    c/o Ocwen                  358 Nautilus                   (Doc. 940))     360 months
    Attn: Cashiering Dept      Avenue,                                        commencing
    1661 Worthington Road      Daytona Beach,                                 February 1,
    Suite 100                  FL 32118                                       2020; Debtor to
    West Palm Beach, FL        (POC #52)                                      maintain taxes
    33409                                                                     and insurance
    (Acct #3484)                                                              directly. Other

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                                                                               terms as outlined
                                                                               in Class 9
                                                                               stipulation (Doc.
                                                                               940)
9    Additional Class 9 Plan terms:

     Upon completion of the Class 9 payments (whether over the full Plan term or completed
     via pre-payment), the lien of US Bank shall be null and void and no longer of any further
     force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

10   Bank of New York           First Mortgage     6%          $169,380.17     $1,015.52 per
     Mellon                     on property                    (based on       month principal
     c/o Ocwen                  located at:                    Class 10        and interest for
     Attn: Cashiering Dept      109 Raymond                    Stipulation     360 months
     1661 Worthington Road      Avenue, Port                   (Doc. 941))     commencing
     Suite 100                  Orange, FL                                     February 1,
     West Palm Beach, FL        32127                                          2020; Debtor to
     33409                      (POC #53)                                      maintain taxes
     (Acct #1626)                                                              and insurance
                                                                               directly. Other
                                                                               terms as outlined
                                                                               in Class 10
                                                                               Stipulation.
10   Additional Class 10 Plan terms:

     Upon completion of the Class 10 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Bank of New York Mellon shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

11   US Bank           First            6%          $91,000         $545.59 per month principal
     c/o Ocwen         Mortgage on                                  and interest for months 1-
     Attn:             property                                     360; Debtor to maintain
     Cashiering        located at:                                  taxes and insurance directly.
     Dept              319 N.
     1661              Hollywood                                    Payments shall commence
     Worthington       Avenue,                                      on the first (1st) day of the
     Road              Daytona                                      month following entry of a

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     Suite 100         Beach, FL                                    Confirmation Order in the
     West Palm         32118                                        amount of $545.59 per
     Beach, FL         (POC #54)                                    month principal and interest.
     33409
     (Acct #1721)                                                   Other terms as outlined in
                                                                    Class 11 Stipulation (Doc.
                                                                    1078)

11   Additional Class 11 Plan terms:

     Upon completion of the Class 11 payments (whether over the full Plan term or completed
     via pre-payment), the lien of US Bank shall be null and void and no longer of any further
     force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

12   Bank of New York           First Mortgage     6%          $180,000        $1,079.19 per
     Mellon                     on property                    (based on       month principal
     c/o Ocwen                  located at:                    Stipulation     and interest for
     Attn: Cashiering Dept      3764 Cardinal                  (Doc. 959)      360 months
     1661 Worthington Road      Blvd, Port                                     commencing
     Suite 100                  Orange, FL                                     March 1, 2020;
     West Palm Beach, FL        32127                                          Debtor to
     33409                      (POC #55)                                      maintain taxes
     (Acct #4076)                                                              and insurance
                                                                               directly. Other
                                                                               terms as outlined
                                                                               in Class 12
                                                                               Stipulation (Doc.
                                                                               959)
12   Additional Class 12 Plan terms:

     Upon completion of the Class 12 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Bank of New York Mellon shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

13   Deutsche Bank              First Mortgage     0%          Pay claim       $738.52 per
     c/o Select Portfolio Svg   on property                    amount as       month principal
     Attn: Remittance           located at:                    determined      only for months

                                           53
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     Processing                 318 Butler                     after           1-360; Debtor to
     PO Box 65450               Blvd., Daytona                 resolution of   maintain taxes
     Salt Lake City, UT         Beach, FL                      pending         and insurance
     84165-0450                 32118                          objection to    directly
     (Acct #5495)               (POC #59)                      claim 59        (amount subject
                                                               (1111(b)        to change after
                                                               Election)       resolution of
                                                                               pending
                                                                               objection to
                                                                               claim 59)
13   Additional Class 13 Plan terms:

     Upon completion of the Class 13 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Deutsche Bank shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

14   Wilmington Trust           First Mortgage     4%          $81,573.57      $389.44 per
     c/o Select Portfolio Svg   on property                    (1111(b)        month principal
     Attn: Remittance           located at:                    Election)       and interest for
     Processing                 231 North                                      months 1-360;
     PO Box 65450               Hollywood,                                     Debtor to
     Salt Lake City, UT         Daytona Beach,                                 maintain taxes
     84165-0450                 FL 32118                                       and insurance
     (Acct #9594)               (POC #61)                                      directly

14   Additional Class 14 Plan terms:

     Upon completion of the Class 14 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Wilmington Trust shall be null and void and no longer of
     any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

15   Deutsche Bank              First Mortgage     1.75%       $112,150.51     $400.65 per
     c/o Select Portfolio Svg   on property                    (1111(b)        month principal
     Attn: Remittance           located at:                    Election)       and interest for
     Processing                 2711 N Halifax                                 months 1-360;
     PO Box 65450               Ave #796,                                      Debtor to
     Salt Lake City, UT         Daytona Beach,                                 maintain taxes

                                           54
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     84165-0450                 FL 32118                                       and insurance
     (Acct #5487)               (POC #62)                                      directly

15   Additional Class 15 Plan terms:

     Upon completion of the Class 15 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Deutsche Bank shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

16   Wilmington Trust         First Mortgage       4%          $81,095.96      $387.16 per
     c/o Select Portfolio Svg on property                      (1111(b)        month principal
     Attn: Remittance         located at:                      election)       and interest for
     Processing               312 N                                            months 1-360;
     PO Box 65450             Peninsula                                        Debtor to
     Salt Lake City, UT       Drive, Daytona                                   maintain taxes
     84165-0450               Beach, FL                                        and insurance
                              32118                                            directly
                              (POC #63)
16   Additional Class 16 Plan terms:

     Upon completion of the Class 16 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Wilmington Trust shall be null and void and no longer of
     any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

17   US Bank NA                 First Mortgage     0%          $177,069.57     $491.86 per
     c/o Select Portfolio Svg   on property                    (1111(b)        month principal
     Attn: Remittance           located at:                    Election)       only for months
     Processing                 316 Butler                                     1-360; Debtor to
     PO Box 65450               Blvd, Daytona                                  maintain taxes
     Salt Lake City, UT         Beach, FL                                      and insurance
     84165-0450                 32118                                          directly
                                (POC #65)

17   Additional Class 17 Plan terms:

     Upon completion of the Class 17 payments (whether over the full Plan term or completed
     via pre-payment), the lien of PNC Bank shall be null and void and no longer of any

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     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

18   US Bank                    First Mortgage  4%             $217,932         $1,040.44 per
     c/o Ocwen                  on property                    (based on tax    month principal
     Attn: Cashiering Dept      located at:                    assessed         and interest for
     1661 Worthington Road      244-1 Poinciana                value and        months 1-360;
     Suite 100                  Avenue, Port                   motion to        Debtor to
     West Palm Beach, FL        Orange, FL                     value)           maintain taxes
     33409                      32127                                           and insurance
      (Acct #2268)              (POC #66)                                       directly


18   Additional Class 18 Plan terms:

     Upon completion of the Class 18 payments (whether over the full Plan term or completed
     via pre-payment), the lien of US Bank shall be null and void and no longer of any further
     force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

19   HSBC Bank                  First Mortgage     6%          $62,780.31       $376.40 per
     c/o Ocwen Loan             on property                    (based on full   month principal
     Attn: Cashiering Dept      located at:                    claim amount     and interest for
     1661 Worthington Road      236 N                          and Class 19     360 months
     Suite 100                  Peninsula Dr.,                 Stipulation      commencing
     West Palm Beach, FL        Daytona Beach,                 (Doc. 1009))     April 1, 2020;
     33409                      FL 32118                                        Debtor to
      (Acct #5126)              (POC #68)                                       maintain taxes
                                                                                and insurance
                                                                                directly. Other
                                                                                terms as outlined
                                                                                in Class 19
                                                                                Stipulation (Doc.
                                                                                1009)
19   Additional Class 19 Plan terms:

     Upon completion of the Class 19 payments (whether over the full Plan term or completed
     via pre-payment), the lien of HSBC Bank shall be null and void and no longer of any
     further force or effect.

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     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

20   Riverside Condo            Lien on                                        Terms as
     Association                property located                               outlined in
     c/o Frank, Weinberg &      at:                                            agreement
     Black, P.L.                2711 N Halifax                                 attached to 9019
     David Neal Stern, Esq.     Ave #796,                                      Motion (Doc.
     1875 NW Corporate          Daytona Beach,                                 No. 226) subject
     Blvd., Suite 100           FL 32118                                       to court approval
     Boca Raton, FL 33431        (POC #72)                                     of 9019 motion



20   Additional Class 20 Plan terms:

     Upon completion of the Class 20 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Riverside Condo shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

21   PNC Bank                   First Mortgage      9%         $40,000         $300 per month
     Successor in interest to   on property                                    interest only
     Woodlea Investment         located at:                                    commencing
     Company                    444 N.                                         August 1 2019
     c/o Amanda Renee           Peninsula                                      and continuing
     Murphy, Esq.               Drive, Daytona                                 monthly until
     O’Kelley & Sorohan,        Beach, FL                                      September 1
     LLC                        32118                                          2023. Balloon
     2290 Lucien Way,                                                          payment due
     Suite 205                  (POC #73)                                      October 1, 2023
     Maitland, FL 32751                                                        in the amount of
     (POC #73)                                                                 $40,000. Debtor
                                                                               to maintain taxes
                                                                               and insurance
                                                                               directly
21   Additional Class 21 Plan terms:

     Upon completion of the Class 21 payments (whether over the full Plan term or completed
     via pre-payment), the lien of PNC Bank shall be null and void and no longer of any

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     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

     Terms as outlined in Stipulation (Doc. 521) incorporated by reference as though fully set
     forth herein

22   HSBC Bank          First Mortgage 6%           $96,353.36      $577.69      per    month
     c/o     Ocwen      on     property             ($90,405.72     principal and interest for
     Loan               located at:                 plus    2018    months 1-360; Debtor to
     Attn:              507 Phoenix                 taxes      of   maintain      taxes    and
     Cashiering         Ave., Daytona               $3,068.66       insurance directly.
     Dept               Beach,      FL              and     2019
     1661               32118                       taxes      of   Payments shall commence
     Worthington        (POC #74)                   $2,878.98)      on the first (1st) day of the
     Road                                                           month following entry of a
     Suite 100                                                      Confirmation Order in the
     West      Palm                                                 amount of $577.69 per
     Beach,      FL                                                 month      principal     and
     33409                                                          interest.
      (Acct #5118)
                                                                    Other terms as outlined in
                                                                    Class 22 Stipulation (Doc.
                                                                    1152)



22   Additional Class 22 Plan terms:

     Upon completion of the Class 22 payments (whether over the full Plan term or completed
     via pre-payment), the lien of HSBC Bank shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

23   HSBC Bank                  First Mortgage     4%          $126,415.93     $603.53 per
     c/o Ocwen Loan             on property                    (based on       month principal
     Attn: Cashiering Dept      located at:                    full claim      and interest for
     1661 Worthington           330 N.                         amount)         months 1-360;
     Road                       Peninsula Dr.,                                 Debtor to
     Suite 100                  Daytona Beach,                                 maintain taxes

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     West Palm Beach, FL        FL 32118                                       and insurance
     33409                                                                     directly
     (Acct #9982)               (POC #75)

23   Additional Class 23 Plan terms:

     Upon completion of the Class 23 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Deutsche Bank shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

24   Deutsche Bank      First Mortgage 6%           $93,736.28      $562.00 per month principal
     c/o     Ocwen      on     property             ($88,772.66     and interest for months 1-
     Loan               located at:                 plus   2018     360; Debtor to maintain
     Attn:              420          N              taxes      of   taxes and insurance directly.
     Cashiering         Peninsula Dr.,              $2,558.60       Payments shall commence
     Dept               Daytona                     and    2019     on the first (1st) day of the
     1661               Beach,      FL              taxes      of   month following entry of a
     Worthington        32118                       $2,405.02)      Confirmation Order in the
     Road               (POC #76)                                   amount of $562.00 per
     Suite 100                                                      month principal and interest.
     West      Palm
     Beach,      FL                                                 Other terms as outlined in
     33409                                                          Class 24 Stipulation (Doc.
      (Acct #8016)                                                  1105).


24   Additional Class 24 Plan terms:

     Upon completion of the Class 24 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Deutsche Bank shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

25   U.S. Bank, N.A.            First Mortgage     6%          $251,682.24     $1,384.46 per
     c/o SN Servicing           on property                    ($239,000       month principal
                                located at:                    plus 2018       and interest for
                                508 Eastwood,                  taxes of        months 1-480
                                Daytona Beach,                 $6,607.89       (commencing

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                                FL 32118                       plus 2019       March 1, 2020);
                                                               taxes of        Debtor to
                                (POC #77)                      $6,074.35)      maintain taxes
                                                               (based on       and insurance
                                                               Class 25        directly. Other
                                                               Stipulation     terms as outlined
                                                               (Doc. 1001)     in Class 25
                                                                               Stipulation (Doc.
                                                                               1001)
25   Additional Class 25 Plan terms:

     Upon completion of the Class 25 payments (whether over the full Plan term or completed
     via pre-payment), the lien of U.S. Bank c/o SN Servicing shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

26   City of Daytona Beach      Lien on          4%            $556            $47 per month
     c/o Mayor Derrick          property located                               principal and
     Henry                      at:                                            interest for
     301 S. Ridgewood Ave.      216                                            months 1-12;
     Room 127                   Morningside
     Daytona Beach, FL          Ave., Daytona
     32114                      Beach, FL
                                32118

                              Volusia County
                              Instrument
                              #2008114643
26   Additional Class 26 Plan terms:

     Upon completion of the Class 26 payments (whether over the full Plan term or completed
     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 6239, Page 4823 shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

27   City of Daytona Beach      Lien on          4%            $0 secured      No Secured
     c/o Mayor Derrick          property located               ($20,000        payments
     Henry                      at:                            unsecured)      (Wholly

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     301 S. Ridgewood Ave.      121 S.                                         Unsecured
     Room 127                   Grandview                                      claim of $20,000
     Daytona Beach, FL          Ave., Daytona                                  allowed pro rata
     32114                      Beach, FL                                      distribution in
                                32118                                          unsecured class)

                              Volusia County
                              Instrument
                              #201192730
27   Additional Class 27 Plan terms:

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the judgment recorded at Volusia County OR Book 6650, Page
     4356 shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

28   City of Daytona Beach      Lien on          4%            $663            $56 per month
     City Hall                  property located                               principal and
     301 S. Ridgewood Ave.      at:                                            interest for
     Room 127                   508 Eastwood                                   months 1-12;
     Daytona Beach, FL          Lane, Daytona
     32114                      Beach

                              Volusia County
                              Instrument
                              #2012033645
28   Additional Class 28 Plan terms:

     Upon completion of the Class 28 payments (whether over the full Plan term or completed
     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 6683, Page 4551 shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

29   21st Mortgage              First mortgage     5%          $184,091.42     Commencing
     Corporation                on property                    (value of       February 1, 2019
     PO Box 477                 located at:                    $182,000 +      payments of
     Knoxville, TN 37901                                       post-petition   $988.24 per
                                121 S.                         advance of      month consisting

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     Acct #9916                 Grandview,                     $2,091.42)      of principal and
                                Daytona Beach                                  interest for 360
                                FL 32118                                       months. Debtor
                                                                               to pay taxes and
                                                                               insurance
                                                                               directly.
29   Additional Class 29 Plan terms:

     Upon completion of the Class 29 payments (whether over the full Plan term or completed
     via pre-payment), the lien of the 21st Mortgage shall be null and void and no longer of
     any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

     Terms as outlined in Stipulation (Doc. 344) incorporated by reference as though fully set
     forth herein

30   City of Daytona Beach      Lien on          n/a           $0              Lien void per
     City Hall                  property located                               court order (Doc.
     301 S. Ridgewood Ave.      at:                                            382)
     Room 127                   121 S.                                         Order Sustaining
     Daytona Beach, FL          Grandview,                                     Objection to
     32114                      Daytona Beach                                  Claim 80 (Doc.
                                FL 32118                                       511)

                              Volusia County
                              Instrument
                              #2013202019
30   Additional Class 30 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 382)

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 6919, Page 3925
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

31   City of Daytona Beach Lien on          n/a                $0              Lien void per
     City Hall             property located                                    court order (Doc.
     301 S. Ridgewood Ave. at:                                                 379)

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     Room 127                   121 S.                                         Order Sustaining
     Daytona Beach, FL          Grandview,                                     Objection to
     32114                      Daytona Beach                                  Claim 80 (Doc.
                                FL 32118                                       511)

                              Volusia County
                              Instrument
                              #2014174360
31   Additional Class 31 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 379)

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7036, Page 2590
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

32   City of Daytona Beach      Lien on                        $0 secured      Lien void per
     City Hall                  property located                               court order (Doc.
     301 S. Ridgewood Ave.      at:                                            386)
     Room 127                   317 aka 315 ½                                  Order Sustaining
     Daytona Beach, FL          N. Hollywood,                                  Objection to
     32114                      Daytona Beach                                  Claim 80 (Doc.
                                FL 32118                                       511)

                              Volusia County
                              Instrument
                              #2014154109
32   Additional Class 32 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 386)

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7025, Page 2142
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

33   Ocwen Loan                 First mortgage      4%         $51,496         $245.85 per
     Attn: Cashiering Dept      on property                    (Schedule D)    month principal

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     1661 Worthington           located at:                                    and interest for
     Road                       311 & 313 N.                                   months 1-360;
     Suite 100                  Hollywood,                                     Debtor to
     West Palm Beach, FL        Daytona Beach                                  maintain taxes
     33409                      FL 32118                                       and insurance
                                                                               directly

33   Additional Class 33 Plan terms:

     Upon completion of the Class 33 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Ocwen Loan Servicing shall be null and void and no longer
     of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

34   City of Daytona Beach      Lien on          n/a           $0              Lien void per
     City Hall                  property located                               court order (Doc.
     301 S. Ridgewood Ave.      at:                                            381)
     Room 127                   311 & 313 N.
     Daytona Beach, FL          Hollywood,                                     Claim
     32114                      Daytona Beach                                  disallowed
                                FL 32118
                                                                               Order Sustaining
                              Volusia County                                   Objection to
                              Instrument                                       Claim 80 (Doc.
                              #2014174354                                      511)
34   Additional Class 34 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 381)

     Upon entry of an Order Granting Debtor’s Motion to Determine Lien Null and Void, the
     lien of City of Daytona Beach established by the lien recorded at Volusia County OR
     Book 7036, Page 2582 shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

35   City of Daytona Beach      Lien on          n/a           $0              Claim and lien to
     City Hall                  property located                               disallowed
     301 S. Ridgewood Ave.      at:                                            pursuant to court
     Room 127                   216                                            order (Doc. 392)
     Daytona Beach, FL          Morningside,

                                           64
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     32114                      Daytona Beach                                  Order Sustaining
                                FL 32118                                       Objection to
                                                                               Claim 80 (Doc.
                              Volusia County                                   511)
                              Instrument
                              #2014174356
35   Additional Class 35 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 392)

     Upon entry of an Order Granting Debtor’s Motion to Determine Lien Null and Void, the
     lien of City of Daytona Beach established by the lien recorded at Volusia County OR
     Book 7036, Page 2584 shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

36   Wells Fargo Home           First mortgage     4%          $99,770.10      $476.32 per
     Mortgage                   on property                    (Sch. D)        month principal
     PO Box 14411               located at:                                    and interest for
     Des Moines, IA 50306       13 South                                       months 1-360;
                                Peninsula
                                Drive, Daytona
     Acct #8208                 Beach, FL
                                32118


36   Additional Class 36 Plan terms:

     Upon completion of the Class 36 payments (whether over the full Plan term or completed
     via pre-payment), the first mortgage lien of Wells Fargo Home Mortgage shall be null
     and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

37   City of Daytona Beach      Lien on          n/a           $0              Claim and lien
     City Hall                  property located                               be disallowed
     301 S. Ridgewood Ave.      at:                                            pursuant to court
     Room 127                   13 South                                       order (Doc. 384)
     Daytona Beach, FL          Peninsula
     32114                      Drive, Daytona                                 Order Sustaining
                                Beach, FL                                      Objection to

                                           65
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                                32118                                          Claim 80 (Doc.
                                                                               511)
                                Volusia County
                                Instrument
                                #2014225720


37   Additional Class 37 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 384)

     Upon entry of an Order Granting Debtor’s Motion to Determine Lien Null and Void, the
     lien of City of Daytona Beach established by the lien recorded at Volusia County OR
     Book 7064, Page 4340 shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

38   City of Daytona Beach      Lien on          n/a           $0              Lien void per
     City Hall                  property located                               court order (Doc.
     301 S. Ridgewood Ave.      at:                                            385)
     Room 127                   319 N.
     Daytona Beach, FL          Hollywood,                                     Order Sustaining
     32114                      Daytona Beach,                                 Objection to
                                FL 32118                                       Claim 80 (Doc.
                                                                               511)
                                Volusia County
                                Instrument
                                #2014225721


38   Additional Class 38 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 385)

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7064, Page 4341
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

39   City of Daytona Beach      Lien on            n/a         $0              Lien void per

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     City Hall                  property located                               court order
     301 S. Ridgewood Ave.      at:                                            (Doc. 390)
     Room 127                   21 S. Peninsula,
     Daytona Beach, FL          Daytona Beach,                                 Order Sustaining
     32114                      FL 32118                                       Objection to
                                                                               Claim 80 (Doc.
                                Volusia County                                 511)
                                Instrument
                                #2014225808


39   Additional Class 39 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 390)

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7064, Page 4575
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

40   City of Daytona Beach      Lien on          n/a           $0              Claim and lien to
     City Hall                  property located                               be disallowed
     301 S. Ridgewood Ave.      at:                                            pursuant to court
     Room 127                   615 Wisteria                                   order (Doc. 377)
     Daytona Beach, FL          Rd, Daytona
     32114                      Beach, FL                                      Order Sustaining
                                32118                                          Objection to
                                                                               Claim 80 (Doc.
                                Volusia County                                 511)
                                Instrument
                                #2015014251


40   Additional Class 40 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 377)

     Upon entry of an Order Granting Debtor’s Motion to Determine Lien Null and Void, the
     lien of City of Daytona Beach established by the lien recorded at Volusia County OR
     Book 7077, Page 272 shall be null and void and no longer of any further force or effect.


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     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

41   City of Daytona Beach      Lien on          n/a           $0              Lien void per
     City Hall                  property located                               court order (Doc.
     301 S. Ridgewood Ave.      at:                                            380)
     Room 127                   229 N.                                         No Secured
     Daytona Beach, FL          Hollywood,
     32114                      Daytona Beach,                                 Order Sustaining
                                FL 32118                                       Objection to
                                                                               Claim 80 (Doc.
                                Volusia County                                 511)
                                Instrument
                                #2015072121


41   Additional Class 41 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 380)

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7108, Page 1927
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

42   City of Daytona Beach      Lien on          n/a           $0              Lien void per
     City Hall                  property located                               court order (Doc.
     301 S. Ridgewood Ave.      at:                                            387)
     Room 127                   358 Nautilus
     Daytona Beach, FL          Ave, Daytona                                   Order Sustaining
     32114                      Beach, FL                                      Objection to
                                32118                                          Claim 80 (Doc.
                                                                               511)
                                Volusia County
                                Instrument
                                #2015072141


42   Additional Class 42 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 387)

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     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7108, Page 2001
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

43   City of Daytona Beach      Lien on          n/a           $0              Claim and lien to
     City Hall                  property located                               be disallowed
     301 S. Ridgewood Ave.      at:                                            pursuant to court
     Room 127                   507 Phoenix                                    order (Doc. 378)
     Daytona Beach, FL          Ave, Daytona
     32114                      Beach, FL                                      Order Sustaining
                                32118                                          Objection to
                                                                               Claim 80 (Doc.
                                Volusia County                                 511)
                                Instrument
                                #2015072142


43   Additional Class 43 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 378)

     Upon entry of an Order Granting Debtor’s Motion to Determine Lien Null and Void, the
     lien of City of Daytona Beach established by the lien recorded at Volusia County OR
     Book 7108, Page 2002 shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

44   City of Daytona Beach      Lien on          n/a           $0              Lien void per
     City Hall                  property located                               court order (Doc.
     301 S. Ridgewood Ave.      at:                                            393)
     Room 127                   21 S. Peninsula,
     Daytona Beach, FL          Daytona Beach,                                 Order Sustaining
     32114                      FL 32118                                       Objection to
                                                                               Claim 80 (Doc.
                                Volusia County                                 511)
                                Instrument
                                #2015090960


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44   Additional Class 44 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 393)

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7118, Page 2503
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

45   City of Daytona Beach      Lien on          n/a           $0              Lien void per
     City Hall                  property located                               court order (Doc.
     301 S. Ridgewood Ave.      at:                                            389)
     Room 127                   509 Harvey
     Daytona Beach, FL          Ave & 511,                                     Order Sustaining
     32114                      Daytona Beach,                                 Objection to
                                FL 32118                                       Claim 80 (Doc.
                                                                               511)
                                Volusia County
                                Instrument
                                #2015131639


45   Additional Class 45 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 389)

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7140, Page 4378
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

46   City of Daytona Beach      Lien on          n/a           $0              Claim and lien to
     City Hall                  property located                               be disallowed
     301 S. Ridgewood Ave.      at:                                            pursuant to court
     Room 127                   236 N.                                         order (Doc. 391)
     Daytona Beach, FL          Peninsula,
     32114                      Daytona Beach,                                 Order Sustaining
                                FL 32118                                       Objection to

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                                                                               Claim 80 (Doc.
                                Volusia County                                 511)
                                Instrument
                                #2015131643


46   Additional Class 46 Plan terms:

     Lien declared void ab initio by prior court order (Doc. 391)

     Upon entry of an Order Granting Debtor’s Motion to Determine Lien Null and Void, the
     lien of City of Daytona Beach established by the lien recorded at Volusia County OR
     Book 7140, Page 4388 shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

47   City of Daytona Beach      Lien on          n/a           $0 secured      No Secured
     City Hall                  property located               ($17,300        payments
     301 S. Ridgewood Ave.      at:                            unsecured)      (Wholly
     Room 127                   3764 Cardinal                                  Unsecured
     Daytona Beach, FL          Blvd, Daytona                                  claim of $17,300
     32114                      Beach, FL                                      allowed pro rata
                                32118                                          distribution in
                                                                               unsecured class)
                                Volusia County
                                Instrument
                                #2017002567


47   Additional Class 47 Plan terms:

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7345, Page 4677
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

48   City of Daytona Beach      Lien on          n/a           $0 secured      No Secured
     City Hall                  property located               ($15,000        payments
     301 S. Ridgewood Ave.      at:                            unsecured)      (Wholly
     Room 127                   358 Nautilus,                                  Unsecured

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     Daytona Beach, FL          Daytona Beach,                                 claim of $15,000
     32114                      FL 32118                                       allowed pro rata
                                                                               distribution in
                                Volusia County                                 unsecured class)
                                Instrument
                                #2017079231


48   Additional Class 48 Plan terms:

     Upon entry of an order confirming Debtor’s Chapter 11 Plan, the lien of City of Daytona
     Beach established by the lien recorded at Volusia County OR Book 7388, Page 2882
     shall be null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

49   City of Daytona Beach      Lien on          4%            $500            $42.57 per
     City Hall                  property located                               month principal
     301 S. Ridgewood Ave.      at:                                            and interest for
     Room 127                   320 N.                                         months 1-12;
     Daytona Beach, FL          Peninsula,
     32114                      Daytona Beach,
                                FL 32118

                                Volusia County
                                Instrument
                                #2017140413


49   Additional Class 49 Plan terms:

     Upon completion of the Class 49 payments (whether over the full Plan term or completed
     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 7424, Page 3264 shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

50   City of Daytona Beach Lien on          n/a                $0 secured      No Secured
     City Hall             property located                    ($250           payments
     301 S. Ridgewood Ave. at:                                 unsecured)      (Wholly

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     Room 127                   319 N.                                         Unsecured
     Daytona Beach, FL          Hollywood,                                     claim of $250
     32114                      Daytona Beach,                                 allowed pro rata
                                FL 32118                                       distribution in
                                                                               unsecured class)
                                Volusia County
                                Instrument
                                #2017140414


50   Additional Class 50 Plan terms:

     Upon completion of the Class 50 payments (whether over the full Plan term or completed
     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 7424, Page 3265 shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

51   City of Daytona Beach      Lien on          n/a           $0 secured      No Secured
     City Hall                  property located               ($850           payments
     301 S. Ridgewood Ave.      at:                            unsecured)      (Wholly
     Room 127                   229 N.                                         Unsecured
     Daytona Beach, FL          Hollywood,                                     claim of $850
     32114                      Daytona Beach,                                 allowed pro rata
                                FL 32118                                       distribution in
                                                                               unsecured class)
                                Volusia County
                                Instrument
                                #2017144765


51   Additional Class 51 Plan terms:

     Upon completion of the Class 51 payments (whether over the full Plan term or completed
     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 7424, Page 830 shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.


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52   City of South Daytona      Lien on          4%            $7,500          $75.93 per
     City Hall                  property located                               month principal
     1672 S. Ridgewood          at:                                            and interest for
     Ave.,                      813 Big Tree,                                  months 1-120
     South Daytona, FL          Daytona Beach,
     32119                      FL 32118

                                Volusia County
                                Instrument
                                #2017185564


52   Additional Class 52 Plan terms:

     Upon completion of the Class 52 payments (whether over the full Plan term or completed
     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 7451, Page 1631 shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

53   City of Daytona Beach      Lien on          4%            $250            Paid in full at
     City Hall                  property located                               confirmation
     301 S. Ridgewood Ave.      at:
     Room 127                   312 N.
     Daytona Beach, FL          Peninsula
     32114                      Drive, Daytona
                                Beach, FL
                                32118

                                Volusia County
                                Instrument
                                #2017221622


53   Additional Class 53 Plan terms:

     Upon completion of the Class 53 payments (whether over the full Plan term or completed
     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 7472, Page 441 shall be null and void and no longer of any
     further force or effect.


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     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

54   City of Daytona Beach      Lien on          n/a           $3,000          $3,000 paid on
     City Hall                  property located                               or before
     301 S. Ridgewood Ave.      at:                                            December 7,
     Room 127                   311 & 313 N.                                   2019
     Daytona Beach, FL          Hollywood
     32114                      Drive, Daytona
                                Beach, FL
                                32118

                                Volusia County
                                Instrument
                                #2018007361


54   Additional Class 54 Plan terms:

     Upon completion of the Class 54 payments (whether over the full Plan term or completed
     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 7494, Page 4192 shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

55   City of Daytona Beach      Lien on          n/a           $500            $500 paid by
     City Hall                  property located                               January 10, 2020
     301 S. Ridgewood Ave.      at:
     Room 127                   232 N.
     Daytona Beach, FL          Peninsula,
     32114                      Daytona Beach,
                                FL 32118

                                Volusia County
                                Instrument
                                #2018007365


55   Additional Class 55 Plan terms:

     Upon completion of the Class 55 payments (whether over the full Plan term or completed

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     via pre-payment), the lien of City of Daytona Beach established by the lien recorded at
     Volusia County OR Book 7494, Page 4198 shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

56   HSBC Bank                  First Mortgage     4%          $61,000          $291.22 per
     c/o Ocwen Loan             on property                    (based on full   month principal
     Attn: Cashiering Dept      located at:                    claim as         and interest for
     1661 Worthington Road      232 N                          listed on        months 1-360;
     Suite 100                  Peninsula Dr.,                 Schedule D)      Debtor to
     West Palm Beach, FL        Daytona Beach,                                  maintain taxes
     33409                      FL 32118                                        and insurance
      (Acct #5142)              (Sch. D)                                        directly


56   Additional Class 56_Plan terms:

     Upon completion of the Class 56 payments (whether over the full Plan term or completed
     via pre-payment), the lien of HSBC Bank shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

57   Rhett & Patricia           First Mortgage     Terms as outlined in the Motion for
     Johnston                   on property        Approval of Settlement Agreement (Doc.
     c/o Armistead W. Ellis     located at:        660) and the Settlement Agreement attached
     Jr. Esq.                   3970 Cardinal      thereto
     PO Box 127                 Blvd., Daytona
     Daytona Beach, FL          Beach, FL
     32115                      32118
                                (Sch. D)

57   Additional Class 57 Plan terms:

     Upon completion of the Class 57 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Rhett & Patricia Johnston shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

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58   Rhett & Patricia           First Mortgage      Terms as outlined in the Motion for
     Johnston                   on property         Approval of Settlement Agreement (Doc.
     c/o Armistead W. Ellis     located at:         660) and the Settlement Agreement attached
     Jr. Esq.                   3 Carter            thereto
     PO Box 127                 Terrace,
     Daytona Beach, FL          Daytona Beach,
     32115                      FL 32118
                                (Sch. D)

58   Additional Class 58 Plan terms:

     Upon completion of the Class 58 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Rhett & Patricia Johnston shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

59   Rhett & Patricia           First Mortgage      Terms as outlined in the Motion for
     Johnston                   on property         Approval of Settlement Agreement (Doc.
     c/o Armistead W. Ellis     located at:         660) and the Settlement Agreement attached
     Jr. Esq.                   21 S. Peninsula,    thereto
     PO Box 127                 Daytona Beach,
     Daytona Beach, FL          FL 32118
     32115                      (Sch. D)


59   Additional Class 59 Plan terms:

     Upon completion of the Class 59 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Rhett & Patricia Johnston shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

60   Wells Fargo Home           First Mortgage      4%         $40,413.33      $192.94 per
     Mortgage                   on property                    (based on       month principal
     PO Box 14411               located at:                    Schedule D)     and interest for
     Des Moines, IA 50306       615 Wisteria                                   months 1-360;
                                Rd., Daytona                                   Debtor to
                                Beach, FL                                      maintain taxes

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                              32118                                            and insurance
                              (Sch. D)                                         directly
60   Additional Class 60 Plan terms:

     Upon completion of the Class 60 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Wells Fargo Home Mortgage shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

61   U.S. Bank,        First            6%          $127,901.04     $766.83 per month principal
     N.A. c/o          Mortgage on                  ($122,000       and interest for months 1-
     Nationstar        property                     value plus      360; Debtor to maintain
     Mortgage          located at:                  $5,901.04       taxes and insurance directly.
     PO         Box    229 N.                       post-petition
     619096            Hollywood                    escrow          Payments shall commence
     Dallas, TX        Ave., Daytona                advances)       on the first (1st) day of the
     75261-9741        Beach, FL                                    month following entry of a
                       32118                                        Confirmation Order in the
                                                                    amount of $766.83 per
                                                                    month principal and interest.

                                                                    Other terms as outlined in
                                                                    Class 61 Stipulation (Doc.
                                                                    1106)
61   Additional Class 61 Plan terms:

     Upon completion of the Class 61 payments (whether over the full Plan term or completed
     via pre-payment), the lien of U.S. Bank c/o Nationstar Mortgage shall be null and void
     and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

62   Bank of New       First            6%          $127,279        $763.10 per month principal
     York Mellon       Mortgage on                  ($122,000       and interest for months 1-
     c/o Nationstar    property                     value plus      360; Debtor to maintain
     Mortgage          located at:                  $5,279 post-    taxes and insurance directly.
     PO         Box    509/511                      petition
     619096            Harvey Ave,                  escrow          Payments shall commence
     Dallas, TX        Daytona                      advances)       on the first (1st) day of the
     75261-9741                                                     month following entry of a

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     (Acct #4602)      Beach, FL                                    Confirmation Order in the
                       32118                                        amount of $763.10 per
                       (POC #85)                                    month principal and interest.

                                                                    Other terms as outlined in
                                                                    Class 62 Stipulation (Doc.
                                                                    1098)
62   Additional Class 62 Plan terms:

     Upon completion of the Class 62 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Bank of New York Mellon c/o Nationstar Mortgage shall be
     null and void and no longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

63   Marian Price             First Mortgage       4%          $127,526        $608.83 per
     116 Venetian Way         on property                                      month principal
     Port Orange, FL 32127    located at:                                      and interest for
                              813 Big Tree                                     months 1-360;
                              Rd, South                                        Debtor to
                              Daytona Beach,                                   maintain taxes
                              FL 32118                                         and insurance
                              (Sch. D)                                         directly
63   Additional Class 63 Plan terms:

     Upon completion of the Class 63 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Marian Price shall be null and void and no longer of any
     further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

64   Wells Fargo Home         First Mortgage       4%          $109,619.83     $523.34 per
     Mortgage                 on property                      (Sch. D)        month principal
     PO Box 14411             located at:                                      and interest for
     Des Moines, IA 50306     514 Phoenix                                      months 1-360;
                              Ave., Daytona                                    Debtor to
                              Beach, FL                                        maintain taxes
                              32118                                            and insurance
                              (Sch. D)                                         directly
64   Additional Class 64 Plan terms:


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     Upon completion of the Class 64 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Wells Fargo Home Mortgage shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

65   Wells Fargo Home           First Mortgage     6%          $110,099.87     Commencing
     Mortgage                   on property                                    February 1, 2020
     PO Box 14411               located at:                                    payments of
     Des Moines, IA 50306       433 N.                                         $660.10 per
                                Peninsula,                                     month consisting
                                Daytona Beach,                                 of principal and
                                FL 32118                                       interest for 360
                                (Sch. D)                                       months. Debtor
                                                                               to pay taxes and
                                                                               insurance
                                                                               directly

                                                                               Other terms as
                                                                               outlined in Class
                                                                               65 Stipulation
                                                                               (Doc. 935)
65   Additional Class 65 Plan terms:

     Upon completion of the Class 65 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Wells Fargo Home Mortgage shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

66   Wells Fargo Home           First Mortgage     6%          $84,195         $504.79 per
     Mortgage                   on property                    (order          month principal
     PO Box 14411               located at:                    granting        and interest for
     Des Moines, IA 50306       428 N.                         motion to       months 1-360
                                Peninsula,                     value (Doc.     commencing
                                Daytona Beach,                 504))           March 1, 2020;
                                FL 32118                                       Debtor to
                                (Sch. D)                                       maintain taxes
                                                                               and insurance
                                                                               directly. Other
                                                                               terms as outlined

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                                                                               in Class 66
                                                                               Stipulation (Doc.
                                                                               964)
66   Additional Class 66 Plan terms:

     Upon completion of the Class 66 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Wells Fargo Home Mortgage shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

67   Ocwen                    First Mortgage       4%          $119,905.16     $572.45 per
     Attn: Cashiering Dept    on property                      (Sch. D)        month principal
     1661 Worthington Road    located at:                                      and interest for
     Suite 100                308 N.                                           months 1-360;
     West Palm Beach, FL      Peninsula,                                       Debtor to
     33409                    Daytona Beach,                                   maintain taxes
                              FL 32118                                         and insurance
                              (Sch. D)                                         directly
67   Additional Class 67 Plan terms:

     Upon completion of the Class 67 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Ocwen Loan Servicing LLC shall be null and void and no
     longer of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

68   Bank of New York         First Mortgage       4%          $154,346        $736.87 per
     Mellon c/o               on property                      (based on       month principal
     Nationstar Mortgage      located at:                      motion to       and interest for
     Dba Mr. Cooper           101 Carolyn                      value)          months 1-360;
     8950 Cypress Waters      Terrace,                                         Debtor to
     Blvd.                    Daytona Beach,                                   maintain taxes
     Coppell, TX 75019        FL 32118                                         and insurance
                              (Sch. D)                                         directly
68   Additional Class 68 Plan terms:

     Upon completion of the Class 68 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Nationstar Mortgage dba Mr. Cooper shall be null and void
     and no longer of any further force or effect.


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     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

69   Ocwen Loan Servicing       First Mortgage      6%         $91,932.04      $551.18 per
     Attn: Cashiering Dept      on property                                    month principal
     1661 Worthington Road      located at:                                    and interest for
     Suite 100                  216                                            months 1-360.
     West Palm Beach, FL        Morningside                                    Payments
     33409                      Ave, South                                     commence April
                                Daytona Beach,                                 1, 2020. Debtor
                                FL 32118                                       to maintain taxes
                                (POC #79)                                      and insurance
                                                                               directly. Other
                                                                               terms as outlined
                                                                               in Class 69
                                                                               Stipulation (Doc.
                                                                               1038)
69   Additional Class 69 Plan terms:

     Upon completion of the Class 69 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Ocwen Loan Servicing shall be null and void and no longer
     of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish
     clear title for Debtor.

70   Ocwen Loan Servicing       First Mortgage      4%         $102,559        $489.63 per
     Attn: Cashiering Dept      on property                    (motion to      month principal
     1661 Worthington Road      located at:                    value order     and interest for
     Suite 100                  25 S. Peninsula,               (Doc. 505))     months 1-360;
     West Palm Beach, FL        Daytona Beach,                                 Debtor to
     33409                      FL 32118                                       maintain taxes
                                (Sch. D)                                       and insurance
                                                                               directly
70   Additional Class 70 Plan terms:

     Order entered granting motion to value (Doc. 505)

     Upon completion of the Class 70 payments (whether over the full Plan term or completed
     via pre-payment), the lien of Ocwen Loan Servicing shall be null and void and no longer
     of any further force or effect.

     The court reserves jurisdiction to enter further orders as may be necessary to establish

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          clear title for Debtor.

 71       Wells Fargo Home         First Mortgage       4%          $72,000         $343.74 per
          Mortgage                 on property                      (Sch. D)        month principal
          PO Box 14411             located at:                                      and interest for
          Des Moines, IA 50306     115 Ogden                                        months 1-360;
                                   Blvd, Daytona                                    Debtor to
                                   Beach, FL                                        maintain taxes
                                   32118                                            and insurance
                                   (Sch. D)                                         directly
 71       Additional Class 71 Plan terms:

          Upon completion of the Class 71 payments (whether over the full Plan term or completed
          via pre-payment), the lien of Wells Fargo Home Mortgage shall be null and void and no
          longer of any further force or effect.

          The court reserves jurisdiction to enter further orders as may be necessary to establish
          clear title for Debtor.



SECURED CLAIMS – Impaired/Not Subject to Valuation and retention of lien (unless

stated otherwise for wholly unsecured claims):

 Class:   Creditor:                  Collateral:        Interest    Amount          Payment:
                                                        Rate:       Allowed:
 72       Volusia County Tax         2018-2019 Ad       18%         $532.41        $13.52 per month
          Collector                  Valorem Taxes                                 principal and
                                     Ad Valorem                                    interest for
          Plan Amended based         Taxes:                                        months 1-60;
          on Notice of               PARCEL#634103
          Withdrawal filed (Doc.     000161
          1117, 1119, 1121,          Monroe, Port
          1123)                      Orange, FL

 73       Volusia County Tax         2018 & 2019        18%         $4,125.85      $104.77 per
          Collector                  Ad Valorem                                    month principal
                                     Taxes: 358                                    and interest for
                                     Nautilus                                      months 1-60;
                                     Avenue,
                                     Daytona Beach,
                                     FL 32118

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74   Volusia County Tax      2018-2019 Ad       18%       $7,450.22     $189.19 per
     Collector               Valorem Taxes:                             month principal
                             PARCEL#533400                              and interest for
     Plan amended based on   020193                                     months 1-60;
     Notice of Withdrawal    3 Carter,
     filed (Doc. 1139)       Daytona Beach,
                             FL 32118

75   Volusia County Tax      2018-2019 Ad       18%       $4,935.95     $125.34 per
     Collector               Valorem Taxes:                             month principal
                             PARCEL#530508                              and interest for
     Plan amended based on   150032                                     months 1-60;
     Notice of Withdrawal    21 Peninsula,
     filed (Doc. 1141)       Daytona Beach,
                             FL 32118

76   Volusia County Tax      2018-2019 Ad       18%       $3,890.27     $98.79 per month
     Collector               Valorem Taxes:                             principal and
                             PARCEL#53051                               interest for
     Plan amended based on   0110070                                    months 1-60;
     Notice of Withdrawal    324 Peninsula,
     filed (Doc. 1143)       Daytona Beach,
                             FL 32118

77   Volusia County Tax      2018-2019 Ad       18%       $5,296.49     $134.50 per
     Collector               Valorem Taxes:                             month principal
                             PARCEL#53340                               and interest for
     Plan amended based on   5000150                                    months 1-60;
     Notice of Withdrawal    100 Carolyn,
     filed (Doc. 1145)       Daytona Beach,
                             FL 32118

78   Volusia County Tax      2018-2019 Ad       18%       $10,127.67    $257.18 per
     Collector               Valorem Taxes:                             month principal
                             PARCEL#630211                              and interest for
     Plan amended based on   000030                                     months 1-60
     Notice of Withdrawal    3790 Cardinal,
     filed (Doc. 1147)       Port Orange, FL
                             32127

79   Volusia County Tax      2018-2019 Ad       18%       $7,453.67     $189.27 per
     Collector               Valorem Taxes:                             month principal
                             PARCEL#534416                              and interest for
     Plan amended based on   000872                                     months 1-60;
                             813 Big Tree,
     Notice of Withdrawal
                                       84
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          filed (Doc. 1135, 1137)   South Daytona,
                                    FL
 80       Volusia County Tax        2018-2019 Ad       18%        $532.41        $13.52 per month
          Collector                 Valorem Taxes:                               principal and
                                    PARCEL#634103                                interest for
          Plan amended based on     000240                                       months 1-60
                                    534 Lafayette,
          Notice of Withdrawal      Port Orange, FL
          filed (Doc. 1125, 1127,
          1129, 1131, 1133)
 81       Volusia County Tax        2018-2019 Ad       18%        $521.90        $13.25 per month
          Collector                 Valorem Taxes:                               principal and
                                    PARCEL#634103                                interest for
          Plan amended based on     000221                                       months 1-60
                                    Monroe, Port
          Notice of Withdrawal      Orange, FL
          filed (Doc. 1107, 1109,
          1111, 1113, 1115)



UNSECURED CLAIMS: IMPAIRED

 Class:    Creditors:                                            Payments:
 82        All General Unsecured Claims, including any           $25 per month for sixty (60)
           wholly unsecured second mortgage claims               months. Pro rata distribution
           identified above and any unsecured portion of         to      general       unsecured
           claims valued pursuant to 11 U.S.C. § 506.            creditors, including unsecured
                                                                 claims       resulting     from
                                                                 valuation of secured claims
                                                                 treated above.


Equity Interests:

 Class:    Equity Holders:
 83        Jack Aberman – 100%

           Equity interests to vest in Jack Aberman upon the effective date.


SECURED CLAIMS – Impaired/Not Subject to Valuation and retention of lien (to the extent

of the allowed amount of the secured claim less payments made pursuant to the payment


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schedule below; no retention of lien for avoided liens or wholly unsecured claims):

 Class:   Creditor:                  Collateral:         Interest   Amount          Payment:
                                                         Rate:      Allowed:
 84       320 FBR, LLC               First mortgage      6%         $15,000         Commencing
          1020 W. International      on property                                    March 1, 2019
          Speedway Blvd.,            located at:                                    payments of
          Ste 100                                                                   $126.58 per
          Daytona Beach, FL          Monroe St.,                                    month for sixty
          32114                      Port Orange, FL                                (60) months
                                     32127 – Parcel                                 based on a
                                     ID                                             secured claim of
                                     634103000161                                   $15,000
                                                                                    amortized over
                                                                                    fifteen (15) years
                                                                                    with 6% interest.
                                                                                    Balloon payment
                                                                                    of remaining
                                                                                    principal and
                                                                                    interest due on
                                                                                    March 1, 2024.
                                                                                    If Debtor
                                                                                    completes all
                                                                                    sixty (60)
                                                                                    months of
 84       Additional Class 84 Plan terms:

          Upon completion of the Class 84 payments (whether over the full Plan term or completed
          via pre-payment), the lien of 320 FBR, LLC shall be null and void and no longer of any
          further force or effect.

          The court reserves jurisdiction to enter further orders as may be necessary to establish
          clear title for Debtor.



SECURED CLAIMS – Impaired (lien extinguished upon lump sum payment)

 Class:   Creditor:                  Collateral:         Interest   Amount          Payment:
                                                         Rate:      Allowed:
 85       City of Daytona Beach      Lien on             n/a        $10,000         Lump sum
          City Hall                  property located                               payment of
          301 S. Ridgewood Ave.      at:                                            $10,000 on or

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          Room 127                   Vacant lot.                                     before March 16,
          Daytona Beach, FL          Parcel ID                                       2020
          32114                      530401110120.
                                     S. Grandview
                                     Ave., Daytona
                                     Beach, FL (tax
                                     assessed value
                                     of $32,603)

                                     Volusia County
                                     OR Book 7266
                                     Page 2530


 85       Additional Class 85 Plan terms:

          Upon completion of the Class 85 lump sum payment, the lien of City of Daytona Beach
          recorded at Volusia County OR Book 7266 Page 2530 shall be null and void and no
          longer of any further force or effect.

          Upon completion of the Class 85 payment, the City of Daytona Beach will dismiss the
          pending foreclosure action in case 2017-31369-CICI and take any other actions to remove
          any cloud on the title to the above-described collateral.

          The court reserves jurisdiction to enter further orders as may be necessary to establish
          clear title for Debtor.



SECURED CLAIMS – Impaired/Subject to Valuation and retention of lien:

 Class:   Creditor:       Collateral:        Interest    Amount           Payment:

                                             Rate:       Allowed:

 86       PNC     Bank, First Mortgage 4%                $13,216          $63.10 per month principal
          N.A.          on     property                  ($11,985         and interest for months 1-
                        located at:                      plus     post-   360; Debtor to maintain
                        Monroe      St.,                 petition         taxes    and     insurance
                        Port Orange,                     attorney fees    directly
                        FL        32127                  and costs of
                        Parcel       ID                  $1,231)
                        634103000221

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 86       Additional Class 86 Plan terms:



          Upon completion of the Class 86 payments (whether over the full Plan term or completed
          via pre-payment), the lien of PNC Bank shall be null and void and no longer of any further
          force or effect.

          The court reserves jurisdiction to enter further orders as may be necessary to establish clear
          title for Debtor.




SECURED CLAIMS – Impaired/Not Subject to Valuation and retention of lien (unless

stated otherwise for wholly unsecured claims):

 Class:   Creditor:                  Collateral:         Interest    Amount           Payment:
                                                         Rate:       Allowed:
 87       Volusia County Tax         2018, 2019 Ad       18%         $4,145.36      $105.26 per
          Collector                  Valorem Taxes:                                 month principal
                                                                                    and interest for
                                     311/313 N.                                     months 1-60;
                                     Hollywood
                                     Ave., Daytona
                                     Beach, FL
                                     32118

 88       Volusia County Tax         2018, 2019 Ad       18%         $5,863.79      $148.90 per
          Collector                  Valorem Taxes:                                 month principal
                                                                                    and interest for
                                     507 Phoenix                                    months 1-60;
                                     Ave., Daytona
                                     Beach, FL
                                     32118

 89       Volusia County Tax         2018, 2019 Ad       18%         $7,426.80      $188.59 per
          Collector                  Valorem Taxes:                                 month principal
                                                                                    and interest for
                                     308 N.                                         months 1-60;
                                     Peninsula,
                                                  88
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                          Daytona Beach,
                          FL 32118

90   Volusia County Tax   2018, 2019 Ad     18%       $4,893.57     $124.26 per
     Collector            Valorem Taxes:                            month principal
                                                                    and interest for
                          420 N.                                    months 1-60;
                          Peninsula,
                          Daytona Beach,
                          FL 32118

91   Volusia County Tax   2018, 2019 Ad     18%       $1,130.96     $28.72 per month
     Collector            Valorem Taxes:                            principal and
                                                                    interest for
                          S. Grandview,                             months 1-60;
                          Daytona Beach,
                          FL 32118

                          Parcel ID:
                          530401110120

92   Volusia County Tax   2018, 2019 Ad     18%       $1,280.04     $32.50 per month
     Collector            Valorem Taxes:                            principal and
                                                                    interest for
                          N. Peninsula,                             months 1-60;
                          Daytona Beach,
                          FL 32118

                          Parcel ID:
                          530501260121

93   Volusia County Tax   2019 Ad           18%       $1,857.65     $47.17 per month
     Collector            Valorem Taxes:                            principal and
                                                                    interest for
                          320 N.                                    months 1-60;
                          Peninsula,
                          Daytona Beach,
                          FL 32118

94   Volusia County Tax   2018-2019 Ad      18%       $1,465.45     $37.21 per month
     Collector            Valorem Taxes:                            principal and
                                                                    interest for
                          444 N.                                    months 1-60;

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                             Peninsula,
                             Daytona Beach,
                             FL 32118

95   John J. Asendorf        2012-2016 Ad       4%        $2,696.29     $49.66 per month
     PO Box 621171           Valorem Taxes:                             principal and
     Oviedo, FL 32762        PARCEL#6341                                interest for
                             03000221                                   months 1-60
     Plan amended based on   Monroe, Port
     Notice of Additional    Orange, FL
     Creditors (Doc. 1108,
     1110, 1112, 1114,
     1116)

96   BTI 2019 LLC, 1698      2012 Ad            4%        $643.99       $11.86 per month
     W. Hibiscus, Suite A,   Valorem Taxes:                             principal and
     Melbourne, FL 32901     PARCEL#6341                                interest for
                             03000161                                   months 1-60
     Plan amended based on   Monroe, Port
     Notice of Additional    Orange, FL
     Creditors (Doc. 1118)

97   John J. Asendorf        2013-2015 Ad       4%        $1,671.81     $30.79 per month
     PO Box 621171           Valorem Taxes:                             principal and
     Oviedo, FL 32762        PARCEL#6341                                interest for
                             03000161                                   months 1-60
     Plan amended based on   Monroe, Port
     Notice of Additional    Orange, FL
     Creditors (Doc. 1120,
     1122, 1124)

98   BTI 2019 LLC            2012 Ad            4%        $643.99       $11.86 per month
     1698 W. Hibiscus,       Valorem Taxes:                             principal and
     Suite A,                PARCEL#634103                              interest for
     Melbourne, FL 32901     000240                                     months 1-60
                             534 Lafayette,
                             Port Orange, FL
     Plan amended based on
     Notice of Additional
     Creditors (Doc. 1126)

99   John J. Asendorf        2013-2016 Ad       4%        $2,131.86     $39.26 per month
     PO Box 621171           Valorem Taxes:                             principal and
     Oviedo, FL 32762        PARCEL#634103                              interest for
                             000240
                                      90
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                              534 Lafayette,                             months 1-60
      Plan amended based on   Port Orange, FL
      Notice of Additional
      Creditors (Doc. 1128,
      1130, 1132, 1134)

100   Citrus Capital          2016-2017 Ad       0.25%       $3,233.62   $54.24 per month
      Holdings, LLC           Valorem Taxes:                             principal and
      PO Box 54226            PARCEL#534416      Interest                interest for
      New Orleans LA          000872             listed on               months 1-60
                              813 Big Tree,
      70154-4226              South Daytona,
                                                 Tax Cert
                              FL
      Plan amended based on
      Notice of Additional
      Creditors (Doc. 1136,
      1138)

101   Keys Funding LLC        2017 Ad            0.25%       $4,138.82   $69.42 per month
      PO Box 645050           Valorem Taxes:                             principal and
      Cincinatti, OH 45264-   PARCEL#533400      Interest                interest for
      5040                    020193             listed on               months 1-60
                              3 Carter,          Tax Cert
      Plan amended based on   Daytona Beach,
      Notice of Additional    FL 32118
      Creditors (Doc. 1140)

102   Keys Funding LLC        2017 Ad            0.25%       $2,818.47   $47.27 per month
      PO Box 645050           Valorem Taxes:                             principal and
      Cincinatti, OH 45264-   PARCEL#533400      Interest                interest for
      5040                    020193             listed on               months 1-60
                              3 Carter,          Tax Cert
      Plan amended based on   Daytona Beach,
      Notice of Additional    FL 32118
      Creditors (Doc. 1142)

103   Keys Funding LLC        2017 Ad            0.25%       $2,274.15   $38.14 per month
      PO Box 645050           Valorem Taxes:                             principal and
      Cincinatti, OH 45264-   PARCEL#53051       Interest                interest for
      5040                    0110070            listed on               months 1-60
                              324 Peninsula,     Tax Cert
      Plan amended based on   Daytona Beach,
      Notice of Additional    FL 32118
      Creditors (Doc. 1144)

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 104       Keys Funding LLC          2017 Ad             0.25%       $2,163.04      $36.28 per month
           PO Box 645050             Valorem Taxes:                                 principal and
           Cincinatti, OH 45264-     PARCEL#53340        Interest                   interest for
           5040                      5000150             listed on                  months 1-60
                                     100 Carolyn,        Tax Cert
           Plan amended based on     Daytona Beach,
           Notice of Additional      FL 32118
           Creditors (Doc. 1146)

 105       Citrus Capital            2017 Ad             0.25%       $5,803.05      $97.33 per month
           Holdings, LLC             Valorem Taxes:                                 principal and
           PO Box 54226              PARCEL#630211       Interest                   interest for
           New Orleans LA            000030              listed on                  months 1-60
           70154-4226                3790 Cardinal,      Tax Cert
                                     Port Orange, FL
           Plan amended based on     32127
           Notice of Additional
           Creditors (Doc. 1148)



                                          ARTICLE V

                   ALLOWANCE AND DISALLOWANCE OF CLAIMS

5.01 Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed [by a

final non-appealable order], and as to which either: (i) a proof of claim has been filed or deemed

filed, and the Debtor or another party in interest has filed an objection; or (ii) no proof of claim

has been filed, and the Debtor has scheduled such claim as disputed, contingent, or unliquidated.

5.02 Delay of Distribution on a Disputed Claim. No distribution will be made on account of a

disputed claim unless such claim is allowed [by a final non-appealable order].

5.03 Settlement of Disputed Claims. The Debtor will have the power and authority to settle and

compromise a disputed claim with court approval and compliance with Rule 9019 of the Federal

Rules of Bankruptcy Procedure.

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                                            ARTICLE VI

      PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

6.01 Assumed Executory Contracts and Unexpired Leases.

(a) The Debtor assumes the following executory contracts and/or unexpired leases effective upon

the effective date of this Plan as provided in Article VII:

        1.       Lease agreements between Debtor and tenants existing as of the effective date.

(b) The Debtor will be conclusively deemed to have rejected all executory contracts and/or

unexpired leases not expressly assumed under section 6.01(a) above, or before the date of the order

confirming this Plan, upon the date of the entry of the order confirming this Plan. A proof of a

claim arising from the rejection of an executory contract or unexpired lease under this section must

be filed no later than thirty (30) days after the date of the order confirming this Plan.

                                           ARTICLE VII

                                    GENERAL PROVISIONS

7.01 Definitions and Rules of Construction. The definitions and rules of construction set forth in

§§ 101 and 102 of the Code shall apply when terms defined or construed in the Code are used in

this Plan, and they are supplemented by the following definitions: N/A

7.02 Effective Date of Plan. The effective date of the Plan is the eleventh business day following

the date of the entry of the order of confirmation. But if a stay of the confirmation order is in effect

on that date, the effective date will be the first business day after that date on which no stay of the

confirmation order is in effect, provided that the confirmation order has not been vacated.

7.03 Severability. If any provision in the Plan is determined to be unenforceable, the determination

will in no way limit or affect the enforceability and operative effect of any other provision of this

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Plan.

7.04 Binding Effect. The rights and obligations of any entity named or referred to in this Plan will

be binding upon, and will inure to the benefit of the successors or assigns of such entity.

7.05 Captions. The headings contained in the Plan are for convenience of reference only and do

not affect the meaning or interpretation of this Plan.

7.06 Controlling Effect. Unless a rule of law or procedure is supplied by federal law (including the

Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of Florida govern this

Plan and any agreements, documents, and instruments executed in connection with this Plan,

except as otherwise provided in this Plan.

7.07 Corporate Governance. No provisions required by § 1123(a)(6) of the Code.

                                          ARTICLE VIII

                                          DISCHARGE

8.01. Discharge. On the confirmation date of the Plan, the Debtor will be discharged from any debt

that arose before confirmation of the Plan, subject to the occurrence of the effective date, to the

extent specified in § 1141(d)(1)(A) of the Code, except that the Debtor will not be discharged of

any debt: (i) imposed by the Plan; (ii) of a kind specified in § 1141(d)(1)(A) if a timely complaint

was filed in accordance with Rule 4007(c) of the Federal Rules of Bankruptcy Procedure; or (iii)

of a kind specified in § 1141(d)(6)(B).

                                           ARTICLE IX

                                     OTHER PROVISIONS

9.01 Payments to the various Classes under this Plan of Reorganization shall commence twenty

(20) days after the date that the Plan of Reorganization becomes final and non-appealable unless

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otherwise specifically stated with respect to treatment of each particular class.

       Dated this 19th day of May, 2020.



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was furnished to Office of the United

States Trustee, 400 W. Washington St, #1100, Orlando, FL 32801 and to all interested parties as

listed on the court’s matrix, by CM/ECF filing this 19th day of May, 2020.

                                                      Law Offices of Mickler & Mickler


                                                      By: /s/ Taylor J. King
                                                         TAYLOR J. KING
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